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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


MICHAEL DALY, individually and on
behalf of all others similarly situated,

                       Plaintiff,
                                              Case. No.
v.
                                              NOTICE OF REMOVAL
WHOLE FOODS MARKET GROUP,
INC.,

                       Defendant.



                DEFENDANT WHOLE FOODS MARKET GROUP, INC.’S
                       NOTICE OF REMOVAL OF ACTION

       Defendant Whole Foods Market Group, Inc. (“WFM Group”), by and through its

undersigned counsel, hereby removes the above-captioned action, entitled Michael Daly v.

Whole Foods Market Group, Inc., Case No. 2023CH02149, from the Circuit Court for Cook

County, Illinois Chancery Division to the United States District Court for the Northern District

of Illinois pursuant to 28 U.S.C. §§ 1332, 1441, 1446 and 1453. Removal is warranted under 28

U.S.C. § 1441(b) because this is a diversity action over which this Court has original jurisdiction

under 28 U.S.C. § 1332(a). In the alternative, removal is warranted under 28 U.S.C. § 1453

because this is a putative class action with minimal diversity and an amount in controversy that

exceeds the sum or value of $5,000,000, exclusive of interests and costs. The following is a

short, plain statement of the grounds for removal provided pursuant to 28 U.S.C. § 1446(a).
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                           I.      DESCRIPTION OF THE ACTION

       1.      On March 3, 2023, Michael Daly (“Plaintiff”) filed a Class Action Complaint, on

behalf of himself and a putative class of all persons in the United States, or alternatively all

persons within the State of Illinois, in the Circuit Court for Cook County, Illinois Chancery

Division, Case No. 2023CH02149 (the “State Court Action”). A copy of the Complaint is

attached as part of Exhibit 1. The Complaint alleges that WFM Group: (1) engages in deceptive

advertising by selling 365 by Whole Foods Market Tilapia Fillets (“365 Tilapia”) in packages

containing less than the advertised amount of fish; (2) intentionally misrepresents the amount of

fish contained in each package of 365 Tilapia; and (3) has been unjustly enriched by the alleged
misrepresentation.

       2.      Specifically, Plaintiff alleges that WFM Group manufactures, advertises, markets

and sells frozen tilapia filets in bags stating that each package contains 907 grams of fish

product. See Complaint, ¶¶5, 13. Plaintiff alleges WFM Group short weighted the fish fillets by

overglazing them in ice in order to sell the fish at a weight higher than the amount of fish

actually delivered. Id., ¶¶11-16. Plaintiff contends he, and consumers like him, were injured

because they were overcharged and deprived of the 907 grams of fish fillets promised in each

bag. Id., ¶¶21-24.

       3.      Based on these and similar allegations, Plaintiff asserts claims for: (1) violations

of the Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 505/1 et seq.
(the “ILCFA”); (2) common law fraud; and (3) unjust enrichment. Plaintiff seeks injunctive

relief, monetary damages, including statutory and/or punitive damages, interest, costs, expenses

and reasonable attorneys, and any further relief the Court deems just and proper. See Complaint,

¶¶42, 48, 53. Plaintiff seeks this relief on behalf of himself and putative classes of all persons in

the United States who purchased 365 Tilapia within the last five years or, in the alternative, all

persons within the State of Illinois who purchased 365 Tilapia within the last five years. Id.,

¶¶29-30.




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       4.      As set forth more fully below, this Court has jurisdiction over this action pursuant

to 28 U.S.C. § 1332(a) and (d), and the action may be removed to this Court pursuant to 28

U.S.C. §§ 1441, 1453 and 1446.

                         II.     NOTICE OF REMOVAL IS TIMELY

       5.      Pursuant to 28 U.S.C. § 1446(b)(1), “[t]he notice of removal of a civil action or

proceeding shall be filed within 30 days after the receipt by the defendant, through service or

otherwise, of a copy of the initial pleading setting forth the claim for relief upon which such

action or proceeding is based…”
       6.      WFM Group is the only named defendant in Plaintiff’s Complaint. On March 22,

2023, Plaintiff served his Complaint on WFM Group through its agent for service of process in

Chicago, Illinois. See Service of Process Transmittal Summary attached as part of Exhibit 1.

As of the filing of WFM Group’s Notice of Removal, Plaintiff has not filed an Affidavit of

Service or Return of Summons in the State Court Action. See Case Docket attached as part of

Exhibit 2.

       7.      Thus, WFM Group’s Notice of Removal is timely under 28 U.S.C. § 1441(b)(1)

because this Notice of Removal is filed within thirty (30) days after WFM Group was served

with Plaintiff’s Complaint.

       8.      The Circuit Court of Cook County, Illinois is located within the Northern District

of Illinois. Venue, therefore, is proper within the Northern District of Illinois pursuant to 28
U.S.C. § 93 and 28 U.S.C. § 1441 because that is the district and division embracing the place

where such action is pending.

       9.      No previous application has been made for the relief requested herein.




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       III.     REMOVAL IS PROPER BECAUSE THIS COURT HAS ORIGINAL
                       SUBJECT MATTER JURISDICTION
       10.      Under the provisions of 28 U.S.C. § 1332, this Court has original jurisdiction over

this case and, therefore, it may be removed to this Court under the provisions of 28 U.S.C. §§

1441, 1453 and 1446.

       11.      Pursuant to 28 U.S.C. § 1332(a)(1), “[t]he district court shall have original

jurisdiction of all civil actions where the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and is between—(1) citizens of different States …” 28

U.S.C. § 1332(a)(1). Further, pursuant to 28 U.S.C. § 1332(d)(2), “[t]he district courts shall have

original jurisdiction of any civil action in which the matter in controversy exceeds the sum or
value of $5,000,000, exclusive of interests and costs, and is a class action in which—(A) any

member of a class of plaintiffs is a citizen of a State different from any defendant …” 28 U.S.C.

§ 1332(d)(2).

A.     Diversity Jurisdiction Under 28 U.S.C. § 1332(a)

       12.      As detailed below, this action may be removed to this Court pursuant to 28 U.S.C.

§ 1332(a) because Plaintiff is a citizen of Illinois (Complaint, ¶¶2, 7), WFM Group is a citizen of

Delaware and Texas (Complaint, ¶3), and the amount in controversy exceeds $75,000, exclusive

of interest and costs.1 See 28 U.S.C. § 1332(a)(1); see also Fernandez v. Kerry, Inc., No. 17-cv-

8971, 2020 WL 1820521, at *3 (N.D. Ill. Apr. 10, 2020).

       13.      Under 28 U.S.C. § 1441(a), “any civil action brought in a State court of which the
district courts of the United States have original jurisdiction, may be removed by the defendant

or the defendants, to the district court of the United States for the district and division embracing

the place where such action is pending.” 28 U.S.C § 1441(a). Since this Court has “original



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  WFM Group relies upon the Plaintiff’s allegations solely for purposes of assessing eligibility
for removal based on diversity and CAFA jurisdiction, 28 U.S.C. § 1332(a) and (d). WFM Group
reserves all rights to challenge these allegations for all other purposes, including, but not limited
to, denying that the putative classes are properly defined, that the Plaintiff has standing to assert
claims on behalf of the alleged putative classes, and that the claims in this case are proper for
class treatment.


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jurisdiction” over this action under 28 U.S.C. § 1332(a), this case may be removed pursuant to

28 U.S.C. § 1441.

       14.       The provisions of 28 U.S.C. § 1441(b)(2) barring removal if “any of the parties in

interest properly joined and served as defendants is a citizen of the State in which such action is

brought” does not prevent removal of this action because WFM Group, the only named

defendant in this case, is not a citizen of Illinois. See Complaint, ¶3.

       1.        Complete Diversity of Citizenship Exists Between the Parties.

       15.       “Diversity jurisdiction in a class action depends solely on the citizenship of the
named parties.” Reece v. Bank of New York Mellon, 760 F.3d 771, 777 (8th Cir. 2014), citing

Snyder v. Harris, 394 U.S. 332, 340, 89 S.Ct. 1053, 22 L.Ed.2d 319 (1969) (“[I]f one member of

a class is of diverse citizenship from the class’ opponent, and no nondiverse members are named

parties, the suit may be brought in federal court even though all other members of the class are

citizens of the same State as the defendant.”). Plaintiff Daly and WFM Group are the only

named parties.

       16.       Plaintiff Daly alleges that he is an individual, who at all relevant times, resided in

Lemont, Illinois and purchased his 365 Tilapia in January 2023 from a Whole Foods Market

store located in Orland Park, Illinois. See Complaint, ¶¶2, 7.

       17.       Plaintiff Daly has filed several other actions in Illinois State Court brought by the

same attorney over the last several years. Mr. Daly alleges in those actions that he is a resident
of Lemont or Chicago, Illinois, evidencing his continued residence in Illinois for several years.

See Daly v. Purity Cosmetics, Inc., Cook County Illinois, Case No. 2022CH00114; Daly v. Snack

It Forward LLC, Cook County Illinois, Case No. 2021CH04869; Daly v. Unilever United States,

Inc., et al., Northern District of Illinois, Case No. 1:23-cv-00203; and Daly v. Now Health Group

Inc., Northern District of Illinois, Case No. 23-cv-01626 (Complaints attached as Exhibit 3).

       18.       The Seventh Circuit has explained that an individual is typically domiciled and
therefore a citizen of the state where they reside. See, Page v. Democratic National Committee,



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2 F.4th 630, 635 (7th Cir. 2021). Moreover, Mr. Daly does not fall within any of the categories

of litigants this Court has recognized who do not reside where they are domiciled, e.g., military

personnel, prisoners, or out-of-state students. See Strabala v. Zhang, 318 F.R.D. 81, 103 (N.D.

Ill. 2016) (quoting Wright & Miller, 13E FED. PRAC. & PROC. JURIS., § 3612 (3d ed.))

(“certain classes of litigants who do not reside where they are domiciled but nonetheless

maintain their domiciles despite protracted periods of residence elsewhere,’ including, for

example military personnel, prisoners, out-of-state students, and governmental or organizational

officials.”).

        19.     Thus, based on Plaintiff’s alleged residence and defense counsel’s investigation,
WFM Group alleges that Mr. Daly is a citizen of Illinois.

        20.     “[A] corporation shall be deemed to be a citizen of every State and foreign state

by which is has been incorporated and of the State or foreign state where it has its principal place

of business …” 28 U.S.C. § 1332(c)(1); see also Hertz Corp. v. Friend, 559 U.S. 77, 93 (2010)

(holding that a corporation is a citizen of its place of incorporation and its “principal place of

business,” which is “the actual center of direction, control, and coordination” of the corporation’s

activities). Plaintiff correctly alleges in his Complaint that WFM Group “is a Delaware

Corporation, whose principal place of business is located in Austin, Texas.” See Complaint, ¶3.

Thus, WFM Group is a citizen of Delaware and Texas. WFM Group is not now, and was not at

the time Plaintiff’s Complaint was filed, a citizen of the State of Illinois.


        2.      The Amount in Controversy Requirement Is Satisfied for Purposes of
                Diversity Jurisdiction.

        21.     Under 28 U.S.C. § 1446(c)(2)(B), removal is proper if the Court finds, by a

preponderance of the evidence, that the amount in controversy exceeds $75,000, exclusive of

interest and costs.

        22.     Section 1446(a) requires a defendant include “a short and plain statement of the
grounds for removal in its notice of removal. See 28 U.S.C. § 1446(a). “[B]orrowing the



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familiar ‘short and plain statement’ standard” from Rule 8(a) of the Federal Rules of Civil

Procedure, the United States Supreme Court has explained that Congress “intended to ‘simplify

the pleading requirements for removal’ and to clarify that courts should ‘apply the same liberal

rules [to removal allegations] that are applied to other matters of pleading.’” Dart Cherokee

Basin Operating Co. v. Owens, 574 U.S. 81, 87 (2014) (quoting H.R. Rep. No. 100–889, p. 71

(1988)) (internal quotation marks omitted). The Supreme Court then held that to satisfy the

“short and plain statement” requirement, the removal notice must allege the amount in

controversy “plausibly” but “need not contain evidentiary submissions” to support the allegation.

Id. at 83–84. In so holding, the Court quoted Ellenburg v. Spartan Motors Chassis Inc., 519 F.3d
192 (4th Cir. 2008), for the proposition that “a removing party’s notice of removal need not

‘meet a higher pleading standard than the one imposed on a plaintiff in drafting an initial

complaint.’” Dart, 574 U.S. at 86, quoting Ellenburg, 519 F.3d at 200.2

       23.     The general federal rule is that the complaint itself determines the amount in

controversy. See Horton v. Liberty Mut. Ins. Co., 367 U.S. 348, 353 (1961). If plaintiff has not

alleged a specific damages amount, however, a removing defendant must show by a

preponderance of the evidence that the amount-in-controversy requirement is met. See, e.g.,

Oshana v. Coca-Cola Co., 472 F.3d 506, 511 (2006) (proponent of jurisdiction has burden of

“showing by a preponderance of the evidence facts that suggest the amount-in-controversy



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  Evidence establishing the amount is required by § 1446(c)(2)(B) only when the plaintiff
contests, or the court questions, the defendant’s allegation.” Dart, 574 U.S. at 89. If a court
questions a defendant’s amount-in-controversy allegation, the court must give the parties an
opportunity to present evidence relating to the allegation and only then decide whether the
preponderance of that evidence shows that the amount in controversy is met. Id. at 89
(“Evidence establishing the amount is required . . . when . . . the court questions[] the
defendant’s allegation.”) (emphasis added). Thus, a court may not sua sponte remand a removed
case based on a deficient amount-in-controversy allegation before giving the defendant an
opportunity to cure the alleged deficiency. See, e.g., Ellenburg, 519 F.3d at 194, 197–98;
Corporate Mgmt. Advisors, Inc. v. Artjen Complexus, Inc., 561 F.3d 1294, 1295–96, 1298 (11th
Cir. 2009); accord Harmon v. OKI Sys., 115 F.3d 477, 479 (7th Cir. 1997) (explaining that
failure to allege amount in controversy constitutes a “procedural defect” that does not undermine
jurisdiction).


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requirement is met.”). “[A] good-faith estimate of the stakes is acceptable if it is plausible and

supported by a preponderance of the evidence.” Id.

       24.     This Court may consider the costs of injunctive relief when calculating the

amount in controversy. Tropp v. W.-S. Life Ins. Co., 381 F.3d 591, 595 (7th Cir. 2004)

(explaining that “the costs a defendant incurs in complying with injunctive relief is a legitimate

consideration in a jurisdictional inquiry.”) “[A]ttorneys’ fees up to the time of removal also

count toward the jurisdictional amount [], and an award of fees is properly considered in addition

to compensatory damages and some degree of disgorgement.” Oshana, 472 F.3d at 512 (internal

citations omitted). Finally, plaintiff’s request for punitive damages may also be considered. Id.
       25.     Plaintiff brings this action on behalf of himself and putative classes of nationwide

consumers, or alternatively Illinois consumers, who purchased 365 Tilapia within the last five

years. See Complaint, ¶¶29-30. Plaintiff alleges three separate claims for violation of the

ILCFA, fraud and unjust enrichment. Id., ¶¶34-53. He seeks, among other things, monetary and

punitive damages, and an award of costs and reasonable attorney fees. Id., ¶¶42, 48 & 53.

Plaintiff also seeks injunctive relief requiring WFM Group to correct the alleged deception. Id.

Based on Plaintiff’s allegations, this presumably would require discontinuing the current product

and developing new packaging.

       26.     Given the nature of Plaintiff’s claims and requested relief, it is more likely than

not that the amount in controversy, as it relates to Plaintiff Daly’s individual claims, exceeds
$75,000.00.

B.     CAFA Jurisdiction Under 28 U.S.C. § 1332(d)

       27.     As detailed below, this action also may be removed to this Court pursuant to 28

U.S.C. § 1332(d) because this case qualifies as a “class action,” the defendant is not a state, state

official nor governmental entity, minimal diversity exists between the parties, and the aggregate

amount placed in controversy by the claims of Plaintiff and his putative classes exceeds

$5,000,000, exclusive of interest and costs. See 28 U.S.C. § 1332(d).




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       28.     Under 28 U.S.C. § 1453(b), “a class action may be removed to a district court of

the United States in accordance with section 1446 (except that the 1-year limitations under

section 1446(c)(1) shall not apply), without regard to whether any defendant is a citizen of the

State in which the action is brought, except that such action may be removed by any defendant

without the consent of all defendants.”

       1.      The Action Qualifies as a “Class Action” under CAFA

       29.     CAFA defines the term “class action” to mean “any action filed under Rule 23 of

the Federal Rules of Civil Procedure or similar state statute or rule of judicial procedure

authorizing an action to be brought by 1 or more representative persons as a class action.” 28
U.S.C. § 1332(d)(1)(B). Plaintiff filed this action under Section 2-801 of the Illinois Code of

Civil Procedure, which allows “for the maintenance of a class action” when the alleged “class is

so numerous that joinder of all members is impracticable”; “[t]here are questions of fact or law

common to the class, which common questions predominate over any questions affecting only

individual members”; “[t]he representative parties will fairly and adequately protect the interest

of the class”; and “[t]he class action is an appropriate method for the fair and efficient

adjudication of the controversy.” 735 ILCS 5/2-801(1)-(4); Complaint, ¶¶29-33. The

requirements for class certification under Section 2-801 parallel those of Federal Rule of Civil

Procedure 23. Compare, 735 ILCS 5/2-801 with Fed. R. Civ. P. 23.

       30.     CAFA jurisdiction, however, is limited to class actions where the primary
defendants are not States, State officials or other governmental entity, and the number of

members of all proposed plaintiff classes in the aggregate is 100 or more. See 28 U.S.C. §

1332(d)(5)(A)-(B).

       31.     WFM Group is not a State, State official or other governmental entity.

       32.     Plaintiff purports to represent a class of “[a]ll persons within the United States

who purchased the Products within five years prior to the filing of the Complaint through the

date of class certification.” Complaint, ¶29. More than 100 persons have purchased 365 Tilapia




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in the United States during the five years preceding the filing of this lawsuit. Thus, there are

more than 100 putative class members.

       2.      Minimal Diversity Exists Between the Parties

       33.     For the reasons detailed in Paragraphs 16-21 above, the jurisdictional requirement

of minimal diversity under CAFA, 28 U.S.C. § 1332(d)(2)(A), is satisfied because Plaintiff and

WFM Group are citizens of different states. Further, because Plaintiff’s nationwide class

includes several other states, WFM Group is also diverse from at least one member of Plaintiff’s

putative national class.

       3.      The Amount in Controversy Requirement Is Satisfied for Purposes of CAFA
               Jurisdiction.

       34.     Under CAFA, the claims of individual class members in a class action are

aggregated to determine if the amount in controversy exceeds the sum or value of $5,000,000.00,

exclusive of interests and costs. See 28 U.S.C. § 1332(d)(6). Moreover, CAFA’s legislative

history makes clear that Section 1332(d)(6) is to be interpreted expansively. The Senate

Committee states:

               . . . if a federal court is uncertain about whether ‘all matters in
               controversy’ in a purported class action ‘do not in the aggregate
               exceed the sum or value of $5,000,000,’ the court should err in
               favor of exercising jurisdiction over the case. By the same token,
               the Committee intends that a matter be subject to federal court
               jurisdiction under this provision if the value of the matter in
               litigation exceeds $5,000,000 either from the viewpoint of the
               plaintiff or the viewpoint of the defendant, and regardless of the
               type of relief sought (e.g., damages, injunctive relief, or
               declaratory relief).
S. Rep. No. 109-114, at 42 (2005), as reprinted in 2005 U.S.C.C.A.N. 40.

       35.     Plaintiff alleges that as a result of WFM Group’s actions he and his putative class

lost money and have been overcharged for the product. See Complaint, ¶122. Thus, Plaintiff

seeks monetary damages equal to a portion of the purchase price from each sale of 365 Tilapia

over the statutory periods. 365 Tilapia currently retails for $15.99 per unit. WFM Group has
sold more than a million units of 365 Tilapia within the last five years.



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       36.     Plaintiff also seeks an award of injunctive relief, punitive damages and attorney

fees. As detailed in Paragraph 25 above, these claims are also properly considered in

determining the amount-in-controversy. See Tropp, 381 F.3d at 595; Oshana, 472 F.3d at 512.

       37.     The economic cost attendant to stopping production and distribution of the current

product, and changing the product’s packaging would be considerable. Thus, the cost of

injunctive relief, combined with the total sales, punitive damages and attorneys’ fees, cements

the fact that the amount in controversy is satisfied.

       38.     Although WFM Group concedes no liability on Plaintiff’s claims, assuming the

allegations to be true for purposes of this notice, Plaintiff’s claims place in controversy a sum
greater than $5,000,000.00. Thus, the claims asserted in this action meet the jurisdictional

threshold because the aggregate amount of alleged actual damages from Plaintiff’s unproved

allegations, plus Plaintiff’s request for punitive damages, attorneys’ fees and injunctive relief,

exceed $5,000,000.00, exclusive of interest and costs. See Appert v. Morgan Stanley Dean

Witter, Inc., 673 F.3d 609, 617-18 (7th Cir. 2012) (“Morgan Stanley has provided a good-faith

estimate that plausibly explains how the stakes exceed $5 million. That is sufficient.”); Blomberg

v. Serv. Corp. Int’l., 639 F.3d 761, 764 (7th Cir. 2011) (“Once the proponent of federal

jurisdiction has explained plausibly how the stakes exceed $5,000,000 . . . the case belongs in

federal court unless it is legally impossible for the plaintiff to recover that much.”)

         IV.     NOTICE OF REMOVAL TO PLAINTIFF AND STATE COURT,
                    AND COPY OF THE COMPLETE FILE FROM
                           THE STATE COURT ACTION.

       39.     Pursuant to 28 U.S.C. §1446(a), WFM Group has attached a copy of the complete

file from the state court. As such, WFM Group has attached the following to this Notice of

Removal: Class Action Complaint, Summons, Motion for Class Certification, Order Re Status

Date, Order Resetting Status Date and the current State Court Docket Sheet. See Exhibit 2.

       40.     Pursuant to 28 U.S.C. § 1446(d), written notice of this removal will be provided
promptly to Plaintiff and filed with the Circuit Court for Cook County, Illinois Chancery



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           2120 - Served                2121 - Served              2620 - Sec. of State
           2220 - Not Served            2221 - Not Served          2621 - Alias Sec of State
           2320 - Served By Mail        2321 - Served By Mail
           2420 - Served By Publication 2421 - Served By Publication
           Summons - Alias Summons                                             (12/01/20) CCG 0001 A


                               IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS

            Name all Parties

            MICHAEL DALY,


                                                  Plaintiff(s)
                                   V.
                                                                  Case No.   2023CH02149
            WHOLE FOODS MARKET GROUP,INC.


                                                Defendant(s)
            Whole Foods Market Grp c/o CT Corp System
            208 S. LaSalle St, Ste 814, Chicago,IL 60604

                                   Address of Defendant(s)
           Please serve as follows (check one): C. Certified Mail        Sheriff Service     Alias
                                                       SUMMONS
           To each Defendant:
           You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
           You are summoned and required to file your appearance, in the office of the clerk of this court,
           within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
           judgment by default may be entered against you for the relief asked in the complaint.
                            THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
           To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
           COURTHOUSE.You will need: a computer with internet access; an email address; a completed
           Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
           appearance.asp; and a credit card to pay any required fees.




                        Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                             cookcountyclerkofcourt.org
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 E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
 service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a service
 provider.
 If you need additional help or have trouble e-filing, visit http://wwwillinoiscourts.gov/faq/gethelp.asp or talk with
 your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
 person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org
 If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
 yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
 illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
 Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
 date AND for information whether your hearing will be held by video conference or by telephone. The Clerk's
 office is open Mon - Fri, 8:30 am - 4:30 pm,except for court holidays.
 NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
       appearance by. You may file your appearance form by efiling unless you are exempted.
 A court date will be set in the future and you will be notified by email (either to the email address that you used to
 register for efiling, or that you provided to the clerk's office).
 CONTACT THE CLERK'S OFFICE for information regarding COURT DATES by visiting our website:
 cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
 appropriate clerk's office location listed on Page 3.
 To the officer: (Sheriff Service)
 This summons must be returned by the officer or other person to whom it was given for service, with endorsement
 of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
 endorsed. This summons may not be served later than thirty (30) days after its date.




(#-:) Atty. No.: 63294                                         Witness date
0 Pro Se 99500
                                                                       3/3/2023 1:36 PM IRIS Y. MARTINEZ
 Name: Steven Perry, Law Offices of Todd Friedman
 Atty. for (if applicable):                                                IRIS Y. MARTINEZ,Clerk of Court
 Michael Daly, Plaintiff                                      0 Service by Certified Mail:

 Address. 707 Skokie Blvd Suite 600                           0 Date of Service:
                                                                 (To be inserted by officer on copy left with employer or other person)
 City: Northbrook

State:   IL     zip: 60062

Telephone: 224-218-0875

Primary Email: steven.perry@toddflaw.com

                         Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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                       GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
appropriate division, district or department to request your next court date. Email your case number, or, if you do
not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
and birthdate for a criminal case.


            CHANCERY DIVISION                                        ALL SUBURBAN CASE TYPES
Court date EMAIL: ChanCourtDate@cookcountycourt.com                      DISTRICT 2 - SKOKIE
Gen. Info: (312) 603-5133                                   Court date EMAIL: D2CourtDate@cookcountycourt.com
                CIVIL DIVISION                              Gen. Info: (847) 470-7250
Court date EMAIL: CivCourtDate@cookcountycourt.com                DISTRICT 3- ROLLING MEADOWS
Gen. Info: (312) 603-5116                                   Court date EMAIL: D3CourtDate@cookcountycourt.com
              COUNTY DIVISION                               Gen. Info: (847) 818-3000
Court date EMAIL: CntyCourtDate@cookcountycourt.com                     DISTRICT 4- MAYWOOD
Gen. Info: (312) 603-5710                                   Court date EMAIL: D4CourtDate@cookcountycourt.com
 DOMESTIC RELATIONS/CHILD SUPPORT                           Gen. Info: (708) 865-6040
                 DIVISION                                             DISTRICT 5- BRIDGEVIEW
Court date EMAIL: DRCourtDate@cookcountycourt.com           Court date EMAIL: D5CourtDate@cookcountycourt.com
                  OR
                  ChildSupCourtDate@cookcountycourt.com
                                                            Gen. Info: (708) 974-6500
Gen. Info: (312) 603-6300                                               DISTRICT 6- MAR.KHAM

            DOMESTIC VIOLENCE                               Court date EMAIL: D6CourtDate@cookcountycourt.com
Court date EMAIL: DVCourtDate@cookcountycourt.com           Gen. Info: (708) 232-4551
Gen. Info: (312) 325-9500

                 LAW DIVISION
Court date EMAIL: LawCourtDate@cookcountycourt.com
Gen. Info: (312) 603-5426

             PROBATE DIVISION
Court date EMAIL: ProbCourtDate@cookcountycourt.com
Gen. Info: (312) 603-6441




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          2120 - Served                2121 - Served              2620 - Sec. of State
          2220 - Not Served            2221 - Not Served          2621 - Alias Sec of State
          2320 - Served By Mail        2321 - Served By Mail
          2420 - Served By Publication 2421 - Served By Publication
          Summons - Alias Summons                                             (12/01/20) CCG 0001 A


                              IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS

           Name all Parties

           MICHAEL DALY,


                                                  Plaintiff(s)

                                                                 Case No.   2023CH02149
           WHOLE FOODS MARKET GROUP,INC.


                                               Defendant(s)
           Whole Foods Market Grp c/o CT Corp System
           208 S. LaSalle St, Ste 814, Chicago,IL 60604

                                  Address of Defendant(s)
          Please serve as follows (check one): 0 Certified Mail         Sheriff Service 0 Alias
                                                       SUMMONS
          To each Defendant:
          You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
          You are summoned and required to file your appearance, in the office of the clerk of this court,
          within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
          judgment by default may be entered against you for the relief asked in the complaint.
                          THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
          To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
          COURTHOUSE.You will need: a computer with internet access; an email address; a completed
          Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
          appearance.asp; and a credit card to pay any required fees.




                       Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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 E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
 service provider. Visit http://efilelllinoiscourts.gov/service-providers.htm to learn more and to select a service
 provider.
If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/faq/gethelp.asp or talk with
your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
date AND for information whether your hearing will be held by video conference or by telephone. The Clerk's
office is open Mon - Fri, 8:30 am - 4:30 pm,except for court holidays.
NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
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A court date will be set in the future and you will be notified by email (either to the email address that you used to
register for efiling, or that you provided to the clerk's office).
CONTACT THE CLERK'S OFFICE for information regarding COURT DATES by visiting our website:
cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
appropriate clerk's office location listed on Page 3.
To the officer: (Sheriff Service)
This summons must be returned by the officer or other person to whom it was given for service, with endorsement
of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
endorsed. This summons may not be served later than thirty (30) days after its date.




(*.i Atty. No.: 63294                                         Witness date
0 Pro Se 99500
                                                                      3/3/2023 1:36 PM IRIS Y. MARTINEZ
Name: Steven Perry, Law Offices of Todd Friedman
Atty. for (if applicable):                                                IRIS Y. MARTINEZ, Clerk of Court
Michael Daly, Plaintiff                                       ID Service by Certified Mail:

Address: 707 Skokie Blvd., Suite 600                          LI Date of Service:
                                                                (To be inserted by officer on copy left with employer or other person)
City: Northbrook

State:   IL    zip: 60062

Telephone: 224-218-0875

Primary Email: steven.perry@toddflaw.com

                        Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                             cookcountyclerkofcourt.org
                                                        Page 2 of 3
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                       GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
appropriate division, district or department to request your next court date. Email your case number, or, if you do
not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
and birthdate for a criminal case.


            CHANCERY DIVISION                                         ALL SUBURBAN CASE TYPES
Court date EMAIL: ChanCourtDate@cookcountycourt.com                       DISTRICT 2- SKOKIE
Gen. Info: (312) 603-5133                                    Court date EMAIL: D2CourtDate@cookcountycourt.com
                CIVIL DIVISION                               Gen. Info: (847) 470-7250
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              COUNTY DIVISION                                Gen. Info: (847) 818-3000
Court date EMAIL: CntyCourtDate@cookcountycourt.com                      DISTRICT 4- MAYWOOD
Gen. Info: (312) 603-5710                                    Court date EMAIL: D4CourtDate@cookcountycourt.com
 DOMESTIC RELATIONS/CHILD SUPPORT                            Gen. Info: (708) 865-6040
                 DIVISION                                              DISTRICT 5- BRIDGEVIEW
Court date EMAIL: DRCourtDate@cookcountycourt.com            Court date EMAIL: D5CourtDate@cookcountycourt.com
                  OR
                  ChildSupCourtDate@cookcountycourt.com
                                                             Gen. Info: (708) 974-6500
Gen. Info: (312) 603-6300                                               DISTRICT 6- MARKHAM
                                                             Court date EMAIL: D6CourtDate@cookcountycourt.com
            DOMESTIC VIOLENCE
                                                             Gen. Info: (708) 232-4551
Court date EMAIL: DVCourtDate@cookcountycourt.com
Gen. Info: (312) 325-9500

                 LAW DIVISION
Court date EMAIL: LawCourtDate@cookcountycourt.com
Gen. Info: (312) 603-5426

             PROBATE DIVISION
Court date EMAIL: ProbCourtDate@cookcountycourt.com
Gen. Info: (312) 603-6441




                    Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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                                                CHANCERY DIVISION

            MICHAEL DALY,individually and on
            behalf of all others similarly situated,
                                                                            2023CH02149
                    Plaintiff,                                   Case No.

            v.                                                   CLASS ACTION
                                                                 COMPLAINT

            WHOLE FOODS MARKET GROUP,INC.                        JURY DEMANDED

                    Defendant.


                    Now comes the Plaintiff, MICHAEL DALY ("Plaintiff"), individually and on behalf of all

            others similarly situated, by and through his attorneys, and for his Class Action Complaint against

            the Defendant WHOLE FOODS MARKET GROUP, INC.,("Defendant"), Plaintiff alleges and

            states as follows:

                                            PRELIMINARY STATEMENT

                    1.     This is an action for damages, injunctive relief, and any other available legal or

            equitable remedies, for violations of Illinois Consumer Fraud and Deceptive Businesses Practices

            Act("ILCFA"), 815 ILCS 505/1 et seq., common law fraud, and unjust enrichment, resulting from

            the illegal actions of Defendants, in intentionally short-weighting their tilapia fillet products.

            Plaintiff alleges as follows upon personal knowledge as to himself and his own acts and

            experiences, and, as to all other matters, upon information and belief, including investigation

            conducted by his attorneys.
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                                             PARTIES

        2.      Plaintiff is an individual who was at all relevant times residing in Lemont, Illinois.

        3.      Defendant is a Delaware Corporation, whose principal place of business is located

 in Austin, Texas.

        4.      At all times relevant hereto, Defendant was engaged in the marketing,

 manufacturing, and sale offrozen fish filets.

                             FACTS COMMON TO ALL COUNTS

        5.     Defendant manufactures, advertises, markets, sells, and distributes frozen fish filets

 throughout the United States.

        6.     During the Class Period Defendant sold short-weighted bags offrozen tilapia filets

(the "Products").

        7.     On January 6, 2023, Plaintiff purchased a Product from a Whole Foods located at

 15260 S La Grange Rd., Orland Park, IL 60462.

        8.     The United States Department of Commerce sets standards for checking the net

content of packaged goods. These standards are articulated in the National Institute of Standards

and Technology Handbook. 133, 2016 Edition.

       9.      Testing packages at retail outlets evaluates the soundness of the manufacturing,

distributing, and retailing processes of the widest variety of goods at a single location. Natl. Inst.

Stand. Technol. Handb. 133, 2016 Ed. 214 Pages(Nov. 2015).

        10.    The limit of the "reasonable minus variation" for an under filled package is called

a "Maximum Allowable Variation" (MAV). An M_AV is a deviation from the labeled weight,

measure, or count of an individual package beyond which the deficiency is considered an

unreasonable minus error. Each sampling plan limits the number of negative package errors



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 permitted to be greater than the MAV.Natl. Inst. Stand. Technol. Handb. 133, 2016 Ed. 214 Pages

(Nov. 2015).

         1 1.   Fish filet products are glazed with a thin layer of ice to protect the freshness of the

 fish meat.

         12.    Fraudulently short-weighted fish filets are sometimes overglazed in order to sell the

fish at a weight higher than the amount of fish actually delivered.

         13.    The Products were sold in units of907 grams per bag.

         14.    The MAY for fish products sold in units of 907 grams is 31.7 grams.

         15.    Plaintiff's counsel conducted an investigation following the guidelines articulated

in the National Institute of Standards and Technology Handbook.

        16.     Based on Plaintiff's counsel's investigation it was determined that approximately

80% of the Products tested were short weighted due to fraudulent over-glazing. See Exhibit Al-

A3, Ice Glaze Package Reports detailing the results of Plaintiff's counsel's investigation.

        17.     Plaintiff's counsel has additionally secured six bags ofunopened, untested Products

for purposes of independent testing during litigation.

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        18.    The following are examples of the Products' fraudulent labeling:




        19.    Persons, like Plaintiff herein, have an interest in purchasing products that do not

contain false and misleading claims with regards to the weight of the Products.

       20.     Plaintiff, like any reasonable consumer, understands that products sold by weight

should actually be the correct weight for the price paid.

       21.     By making false and misleading claims about the Products, Defendant overcharged

Plaintiff and the class members.

       22.     Therefore, Plaintiff has been deprived of his legally protected interest to obtain true

and accurate information about his consumer products as required by law.

       23.     As a result of Defendant's fraudulent labeling, Plaintiff and the Class have been

misled into purchasing Products that did not provide them with the benefit ofthe bargain they paid

money for, namely that the Products would be 907 grams per bag.

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       24.     As a result of Defendant's fraudulent labeling, Plaintiff and the Class were

overcharged.

       25.     Plaintiff was unaware that the Product was short-weighted when he Purchased it.

       26.     Defendant, and not Plaintiff, the Class, or Sub-Class, knew or should have known

that labeling, marketing, and selling the Products overglazed was false, deceptive, and misleading,

and that Plaintiff, the Class, and Sub-Class members would not be able to tell the Products they

purchased were short-weighted.

       27.     On information and belief, Defendant through its employees knew or should have

known that the Products were overglazed.

       28.     As a result of Defendant's acts and omissions outlined above, Plaintiff has suffered

concrete and particularized injuries and harm, which include, but are not limited to, the following:

               a.      Lost money;

               b.      Wasting Plaintiff's time; and

               c.      Stress, aggravation, frustration, loss of trust, loss of serenity, and loss of

                       confidence in product labeling.

                                    CLASS ALLEGATIONS

       29.     Plaintiff brings this action on behalf of himself and all others similarly situated, as

a member of the proposed class (the "Class"), defined as follows:

               All persons within the United States who purchased the Products
               within five years prior to the filing ofthe Complaint through the date
               of class certification.

       30.     Plaintiff also brings this action on behalf of himself and all others similarly situated,

as a member ofthe proposed sub-class (the "Sub-Class"), defined as follows




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               All persons within the State of Illinois who purchased the Products
               within five years prior to the filing ofthe Complaint through the date
               of class certification.

       31.     The Class and the Sub-Class satisfy all of the requirements of the Illinois Code of

Civil Procedure for maintaining a class action, specifically:

               a.      Upon information and belief, the Class and the Sub-Class are so numerous

                      thatjoinder of all members is impracticable. On information and beliefthere

                       are hundreds, if not thousands of individuals in the United States and the

                      State of Illinois who purchased the products within the applicable statute of

                      limitations period.

               b.     There are questions of fact and/or law which are common to the Class and

                      the Sub-Class, and which predominate over questions affecting any

                      individual Class or Sub-Class members. These common questions of fact

                      and law include, but are not limited to:

                      i.      Whether Defendant disseminated false and misleading information

                              by short-weighting the Products;

                              Whether the Class and Sub-Class members were informed that the

                              Products were short-weighted;

                              Whether the Products were short-weighted;

                      iv.     Whether Defendant's conduct was unfair and deceptive;

                      v.      -Whether Defendant unjustly enriched itself as a result of the

                              unlawful conduct alleged above;

                      vii.    Whether there should be a tolling of the statute of limitations; and




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Case: 1:23-cv-02427 Document #: 1 Filed: 04/18/23 Page 49 of 140 PageID #:49
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               viii.   Whether the Class and Sub-Class members are entitled to restitution,

                       actual damages, punitive damages, and attorneys' fees and costs.

         c.    Plaintiffs claims are typical of the Class and the Sub-Class, which all arise

               from the same operative set offacts and are based on the same legal theories

         d.    Plaintiff has no interests adverse or antagonistic to the interests of the other

               members of the Class and the Sub-Class.

         e.    Plaintiff will fairly and adequately protect the interests of the Class and the

               Sub-Class and Plaintiff has retained experienced and competent attorneys

               to represent the Class and the Sub-Class.

         f.    This class action is a fair and efficient adjudication of the controversy

               alleged herein. Plaintiff anticipates that no unusual difficulties are likely to

               be encountered in the management of this class action.

         g.    This class action will permit large numbers of similarly situated persons to

               prosecute their common claims in a single forum simultaneously and

               without the duplication of effort and expense that numerous individual

               actions would engender. This class action will also permit the adjudication

               of relatively small claims by many Class and Sub-Class members who

               would not otherwise be able to afford to seek legal redress for the wrongs

               complained of herein. Absent a class action, Class and Sub-Class members

               will continue to suffer losses of legally protected rights, as well as monetary

               damages. If Defendant's conduct is allowed proceed to without remedy,

               Defendant will continue to benefit financially from such conduct.
    Case: 1:23-cv-02427 Document #: 1 Filed: 04/18/23 Page 50 of 140 PageID #:50  1 1111111111111111111111111111111 1111111111 1 1 1111
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                h.      Defendant has acted on grounds generally applicable to the entire Class and

                        Sub-Class, thereby making it appropriate for the Court to order final

                        monetary, injunctive, and declaratory relief with respect to the Class and the

                        Sub-Class as a whole.

        32.     Defendant, its employees and agents are excluded from the Class and Sub-Class.

Plaintiff does not know the number of members in the Class and Sub-Class, but believes the

members number in the thousands, if not more. Thus, this matter should be certified as a Class

Action to assist in the expeditious litigation of the matter.

       33.      The size and definition ofthe Class and Sub-Class can be identified by Defendant's

own records.

                                    COUNT I
                VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND
              DECEPTIVE BUSINESS PRACTICES ACT,815 ILCS 505/1, et seq.

       34.      Plaintiff incorporates all of the allegations and statements made in Paragraphs 1

through 33 above as if fully reiterated herein.

       35.      Plaintiff is a "person" as defined in 815 ILCS 505/1(c), as he is a natural person.

       36.      Defendant is a "person" as defined in 815 ILCS 505/1(c), as it is a company and a

business entity and/or association.

       37.      815 ILCS 505/2 states:

                Unfair methods of competition and unfair or deceptive acts or
                practices, including but not limited to the use or employment of any
                deception fraud, false pretense, false promise, misrepresentation or
                the concealment, suppression or omission of any material fact, with
                intent that others rely upon the concealment, suppression or
                omission of such material fact, or the use or employment of any
                practice described in Section 2 of the "Uniform Deceptive Trade
                Practices Act", approved August 5, 1965,in the conduct ofany trade
                or commerce are hereby declared unlawful whether any person has
                in fact been misled, deceived or damaged thereby.


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    Case: 1:23-cv-02427 Document #: 1 Filed: 04/18/23 Page 51 of 140 PageID #:51 1 1111111011111111111 1111111111 1111111111 1 1 1111
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        38.        Through its representation that the Products were 907 grams, Defendant made false

promises, misrepresentations, concealments, suppressions, and omissions of material facts, with

the intent that Plaintiff rely upon said false promises, misrepresentations, concealments,

suppressions, and omissions of material facts.

        39.        815 ILCS 505/10a states:

              (a) Any person who suffers actual damage as a result of a violation
               of this Act committed by any other person may bring an action
               against such person. The court, in its discretion may award actual
               economic damages or any other relief which the court deems
               proper...

              (c) [T]he Court may grant injunctive relief where appropriate and
               may award, in addition to the relief provided in this Section,
              reasonable attorney's fees and costs to the prevailing party.

       40.     In taking the actions and omissions set forth above, and making the false promises,

misrepresentations, concealments, suppressions, and omissions of material facts set forth above,

Defendant violated the Illinois Consumer Fraud and Deceptive Business Practices Act, including,

but not limited to, 815 ILCS 505/2.

       41.     Defendant failed to comply with the requirements of the ILCFA,including, but not

limited to, 815 ILCS 505/2 as to the Class and Sub-Class members with respect to the above-

alleged transactions

       42.     By reason thereof, Plaintiff is entitled to a judgment against Defendant, declaring

that Defendant's conduct violated 815 ILCS 505/2, enjoining Defendant from engaging in similar

conduct in the future, and awarding actual damages, punitive damages,injunctive relief, costs, and

attorneys' fees.

                                      PRAYER FOR RELIEF

       Wherefore, Plaintiff prays for a judgment against Defendant as follows:


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    Case: 1:23-cv-02427 Document #: 1 Filed: 04/18/23 Page 52 of 140 PageID #:521 1111111111111111111111111111 1111111111 1 1 1111
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                a.      An order certifying the Class and the Sub-Class and appointing Plaintiff as

                        Representative of the Class and the Sub-Class;

                b.      An order certifying the undersigned counsel as the Class and Sub-Class

                        Counsel;

                c.      An order requiring Defendant, at its own cost, to notify all members of the

                        Class and the Sub-Class of the unlawful, unfair, deceptive, and

                       unconscionable conduct herein;

                d.     Judgment against Defendant in an amount to be determined at trial;

                e.     An order for injunctive relief prohibiting such conduct by Defendant in the

                       future;

               f.      Judgment against Defendant for Plaintiffs attorneys' fees, court costs, and

                       other litigation costs; and

               g.      Any other relief deemed just and proper by this Court.



                                         COUNT II
                                     COMMON LAW FRAUD

       43.     Plaintiff incorporates all of the allegations and statements made in Paragraphs 1

through 33 above as if fully reiterated herein.

       44.     Through its false statements that the Products were 907 grams, Defendant made

false statements of material fact.

       45.     At the time Defendant made its statements to Plaintiff that the Products were 907

grams, it knew, or reasonably should have known,that the statements described above were false.

       46.     At the time Defendant made the statements to Plaintiff, Defendant intended to

induce Plaintiff to purchase the Products for a specific price by weight.


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      Case: 1:23-cv-02427 Document #: 1 Filed: 04/18/23 Page 53 of 140 PageID #:53
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         47.    Plaintiff relied upon the truth of the statements described above and purchased the

 Product for a price by weight, only to find that the Product he purchased was short-weighted.

        48.     As a result of their reasonable reliance upon Defendant's false statements of

 material fact as set forth above, Plaintiff and other members of the Class and Sub-Class have

suffered concrete and particularized injuries, harm,and damages which include, but are not limited

to, the loss ofmoney spent on products that were not the quantity promised, and stress, aggravation,

frustration, inconvenience, emotional distress, mental anguish, and similar categories of damages.

                                    PRAYER FOR RELIEF

        Wherefore, Plaintiff prays for a judgment against Defendant as follows:

                   a. An order certifying the Class and the Sub-Class and appointing Plaintiff as

                       Representative of the Class and the Sub-Class;

                   b. An order certifying the undersigned counsel as the Class and Sub-Class

                       Counsel;

                   c. An order requiring Defendant, at its own cost, to notify all members of the

                       Class and the Sub-Class of the unlawful, unfair, deceptive, and

                       unconscionable conduct herein;

                   d. Judgment against Defendant in an amount to be determined at trial;

                   e. An order for injunctive relief prohibiting such conduct by Defendant in the

                      future;

                  f. Judgment against Defendant for Plaintiff's attorneys' fees, court costs, and

                      other litigation costs; and

                   g. Any other relief deemed just and proper by this Court.

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                                         COUNT HI
                                    UNJUST ENRICHMENT

       49.     Plaintiff incorporates all of the allegations and statements made in Paragraphs 1

through 33 above as if fully reiterated herein.

       50.     Plaintiff conferred monetary benefits to Defendant by purchasing the Products.

       51.     Defendant has been unjustly enriched by retaining the revenues derived from

Plaintiff's purchase ofthe Products based on the false statements that the Products were 907 grams.

       52.     Defendant's retention of the revenue it received from Plaintiff, and the Class and

Sub-Class members,is unjust and inequitable because Defendant's false statements caused injuries

to Plaintiff, and the Class and Sub-Class members, as they would not have purchased the Products,

or would not have paid the same price, if they knew the Products weighed less than advertised.

       53.     Defendant's unjust retention of the benefits conferred on it by Plaintiff, and the

Class and Sub-Class members, entitles Plaintiff, and the Class and Sub-Class members, to

restitution of the money they paid to Defendant for the Products.

                                    PRAYER FOR RELIEF

       Wherefore, Plaintiff prays for a judgment against Defendant as follows:

                  h. An order certifying the Class and the Sub-Class and appointing Plaintiff as

                      Representative of the Class and the Sub-Class;

                  i. An order certifying the undersigned counsel as the Class and Sub-Class

                      Counsel;

                  j. An order requiring Defendant, at its own cost, to notify all members of the

                      Class and the Sub-Class of the unlawful, unfair, deceptive, and

                      unconscionable conduct herein;

                  k. Judgment against Defendant in an amount to be determined at trial;


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                    1. An order for injunctive relief prohibiting such conduct by Defendant in the

                       future;

                    m. Judgment against Defendant for Plaintiff's attorneys' fees, court costs, and

                       other litigation costs; and

                   n. Any other relief deemed just and proper by this Court.



                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues in this action so triable, except for any issues

relating to the amount of attorneys' fees and costs to be awarded should Plaintiff prevail on any of

her claims in this action.

                                              RESPECFULLY SUBMITTED,

                                              MICHAEL DALY




                                              Steve G. Perry
                                              Attorney for Plaintiff
                                              Cook County Attorney No.: 63294
                                              Illinois Attorney No. 6330283
                                              Law Offices of Todd M. Friedman, P.C.
                                              707 Skokie Blvd., Suite 600
                                              Northbrook, IL 60062
                                              Phone:(224)218-0875
                                              Fax:(866)633-0228
                                              Steven.perry@toddflaw.com




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                                                                                                                          E)thibit A91 5 8 *
 Date: 1/11/2023                                                                                                                                           Report Number: 1
                                           Ice Glazed Package Report                                 Sampling Plan:     X• A      M B

 Location (name, address): Whole Foods            Product/Brand Identity: 365 Whole Foods            Manufacturer: Whole Foods                             Container
 Market, 15260 S La Grange Rd,Orland Park IL      Brand                                                                                                    Description: BAG

                                                  Lot Codes:

 1. Standard Pack Labeled              2. Unit of Measure: Grams          3. MAV: Look up the MAV for each package with           5. Inspection            6. Sample Size (n)
 Quantity: 907 grams                                                      a minus(—)error, enter value in the Box 4 column        Lot Size 1 bag           1
(If random packed, enter weight for                                       below.
 each package in Column 1 below.)
 7. Price per gram:                                                                                                                                        8. No. of MAVs
 7a. Standard Pack: Package Price $15.99             divide by (Box 1)= 0.01762955       7b. Random Pack: Labeled Price per lb                             Allowed: 0

                           Pkg 1       Pkg 2       Pkg 3       Pkg 4       Pkg 5       Pkg 6         Pkg 7      Pkg 8      Pkg 9          Pkg 10         Pkg 11          Pkg 12
                          999.86


 Pkg. Gross



                          907
 a. Labeled Net Wt

 b. Gross: Rec. Pan &     1596.15
 deglazed product Wt
                          744.765
 c. Tare: Rec. Pan Wt

 d. Net Wt                851.39
(Box b — Box c=)

 e. Package Error         -55.61
(Box d — Box a = )

                          Column 1                                       Package Errors                          4.
 Package
                      Labeled Net Weight                           _                                                    MAV
    #                                                                                            +
                      (random pack only)                                                                          Dimensionless Units
                                                       55.61                                                             31.7
     1
     2
     3
     4
     5
     6
     7
     8
      9
      10
      11
      12
 Totals                                              f.                          g.
 9. Total Error            10. Number of unreasonable minus(—)           11. Is Box 10 greater than Box 8?       12. Avg. error(Box 9 + Box 6 =):
(add Row e or Box f +      errors (compare each package error with the   X• Yes, lot fails
 g): -55.61                MAV in the Box 4 column): 1                   • No, go to Box 12

1 3. Does Box 12 = Zero (0)or Plus(+)?       14. Compute Sample          15. Sample Correction Factor:           16. Compute Sample Error Limit(Box 14 x Box 15=)
IIII Yes, lot passes, go to Box 18           Standard Deviation:
• No, go to Box 14
17. Disregarding the signs, is Box 12 larger than Box 16?                18. Disposition of Inspection Lot                   19. Economic Impact:
       I=1 Yes, lot fails, go to Box 18 U No, lot passes go to Box 18               M Approved             Il Rejected      (Box 12 x Box 7 x Box 5 =)


Comments:                                                                Official's Signature:
                                                                1 111111 1101 1111 11111 11111 11111 11111 11111 110 1111
Case: 1:23-cv-02427 Document #: 1 Filed: 04/18/23 Page 57 of 140 PageID #:57
                                                                *    5    0     2 6 9            1    5     8     *



                                 Acknowledgement of Report:
                  Case: 1:23-cv-02427 Document #: 1 Filed: 04/18/23 Page 58 of 140 PageID #:58                               1 111111 100 1111 1111 11111 11111 11111 11111 110 1111
                                                                                                                            Exhibit A2                              5           *


 Date: 1/12-1/31/2023                                                                                                                                     Report Number:2
                                            Ice Glazed Package Report                               Sampling Plan:       X0 A • B

 Location (name, address): Whole Foods            Product/Brand Identity: 365 Whole Foods           Manufacturer: Whole Foods                             Container
 Market, 6020 N Cicero Ave, Chicago; 6009 N       Brand                                                                                                   Description: Bags
 Broadway St Chicago; 3201 N Ashland Ave
 Chicago; 1550 N Kingsbury St, Chicago.           Lot Codes:

 1. Standard Pack Labeled              2. Unit of Measure:grams            3. MAV: Look up the MAV for each package                 5. Inspection         6. Sample Size (n)
 Quantity:907 grams                                                        with a minus(-)error, enter value in the Box 4           Lot Size 12           12
(If random packed, enter weight for                                        column below,                                            bags
 each package in Column 1 below.)
 7. Price per gram:                                                                                                                                       8. No. of MA Vs
 7a. Standard Pack: Package Price $15.99             divide by (Box 1)= $0.01762955      7b. Random Pack: Labeled Price per lb                            Allowed 0

                            Pkg 1      Pkg 2       Pkg 3         Pkg 4      Pkg 5      Pkg 6         Pkg 7      Pkg 8        Pkg 9         Pkg 10        Pkg 11          Pkg 12
                           987.91     994.63      994.62       995.65      1006.5     1011.14       998.55     987.67       1002.03       994.22        1010.97         994.12
                                                                           8


 Pkg. Gross Wt




                           907        907         907          907         907        907           907        907        907            907            907             907
 a. Labeled Net Wt

 b. Gross: Rec. Pan &      1612.17    1634.21     1616.42      1606.34     1611.6     1631.55       1581.44    1598.23      1612.63       1597.83       1629.73         1580.59
 deglazed product Wt                                                       9
                           744.80     744.50      744.49       744.55      744.55     744.54        744.53     744.55     744.55         740.87         740.87          740.89
 c. Tare: Rec. Pan Wt

 d. Net Wt                 867.37     889.71      871.93       861.79      867.14     887.01        836.91     853.68     868.08         856.96         888.86          839.7
(Box b - Box c=)
 e. Package Error          -39.63     -17.29      -35.07       -45.21      -39.86     19.99         -70.09     -53.32     -38.92         -50.04        -18.14           -67.3
(Box d - Box a = )
                            Column 1                                      Package Errors                         4.
 Package
                        Labeled Net Weight                           _                                                  MAY
    #                                                                                           +
                        (random pack only)                                                                        Dimensionless Units
     1                                                 39.63                                                     31.7
     2                                                 17.29                                                     31.7
     3                                                 35.07                                                     31.7
     4                                                45.21                                                      31.7
                                                                                                                                                                                    I
     5                                                 39.86                                                     31.7
     6                                                 19.99                                                     31.7
     7                                                 70.09                                                     31.7
     8                                                53.32                                                      31.7
     9                                                38.92                                                      31.7
    10                                                50.04                                                      31.7
    11                                                 18.14                                                     31.7
      12                                              67.3                                                       31.7
 Totals                                               f.                          g.
 9. Total Error             10. Number of unreasonable minus(-)            11. Is Box 10 greater than Box 8?     12. Avg. error(Box 9 + Box 6 = ):
(add Row e or Box f +       errors (compare each package error with the    X III Yes, lot fails
 g): -494.86                MAV in the Box 4 column):9                     M No,go to Box 12

13. Does Box 12 = Zero (0)or Plus(+)?         14. Compute Sample           15. Sample Correction Factor:         16. Compute Sample Error Limit(Box 14 x Box 15=)
0 Yes, lot passes, go to Box 18               Standard Deviation:
• No, go to Box 14
1 7. Disregarding the signs, is Box 12 larger than Box 16?                 18. Disposition of Inspection Lot                    19. Economic Impact:
      • Yes,lot fails, go to Box 18 II No, lot passes, go to Box 18                  •Approved               M Rejected        (Box 12 x Box 7 x Box 5 =)


Comments:                                                                 Official's Signature:
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Case: 1:23-cv-02427 Document #: 1 Filed: 04/18/23 Page 59 of 140 PageID #:59
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                                 Acknowledgement of Report:
                   Case: 1:23-cv-02427 Document #: 1 Filed: 04/18/23 Page 60 of 140 PageID #:60                             11111111111111011111111111111111111111111111
                                                                                                                         Exhi8if 9 1 5 *
 Date: 2/1-2/9/2023                                                                                                                                   Report Number:3
                                            Ice Glazed Package Report                                 Sampling Plan:      XM A • B

 Location (name, address): Whole Foods             Product/Brand Identity:365 Whole Foods             Manufacturer: Whole Foods                       Container
 Market, 255 E Grand Ave, Chicago; 1 N                                                                                                                Description: bags
 Halsted St, Chicago; 3 W Chicago Ave
 Chicago.                                          Lot Codes:

 I. Standard Pack Labeled               2. Unit of Measure:grams           3. MAV: Look up the MAV for each package with              5. Inspection   6. Sample Size (n)
 Quantity:907 grams                                                        a minus(-)error, enter value in the Box 4 column           Lot Size
(If random packed, enter weight for                                        below.
 each package in Column 1 below.)
 7. Price per gram                                                                                                                                    8. No. of MAVs
 7a. Standard Pack: Package Price 15.99              divide by(Box 1)= $0.01762955        7b. Random Pack: Labeled Price per lb                       Allowed 0

                            Pkg 1       Pkg 2       Pkg 3        Pkg 4     Pkg 5       Pkg 6           Pkg 7     Pkg 8        Pkg_9        Pkg 10     Pkg 11    Pkg 12
                           1003.75     1004.52     1008.54      1014.62   1023.14     1008.69         998.22    1002.51      1001.38



 Pkg. Gross Wt




                          907         907         907           907       907         907             907       907          907
 a. Labeled Net Wt

 b. Gross: Rec. Pan &      1598.21     1592.93     1593.04      1612.82   1594.18     1595.89         1601.07   1606.17      1613.99
 deglazed product Wt
                          744.52      744.51      726.86        726.83    726.81      726.81          726.81    750.34       750.30
 c. Tare: Rec. Pan Wt

 d. Net Wt                853.69      848.42      866.18        885.99    867.37      869.08          874.26    855.83       863.69
(Box b - Box c=)
 e. Package Error         -53.31      -58.58       40.82        -21.01    -39.63      -37.92          -32.74    -51.17       -43.31
(Box d - Box a = )
                           Column 1                                       Package Errors                          4.
  Package
                       Labeled Net Weight                             _                                                  MAY
     #                                                                                            +
                       (random pack only)                                                                          Dimensionless Units
     1                                                  53.31                                                               11 7
     2                                                  58.58                                                     31.7
     3                                                  40.82                                                     31.7
     4                                                  21.01                                                     31.7
     5                                                  39.63                                                     31.7
     6                                                  37.92                                                     31.7
     7                                                  32.74                                                     31.7
     8                                                  51.17                                                     31.7
     9                                                  43.31                                                     31.7
     10
                                                                                                                                             r
     11
     12                                                                                                                                                                    ,
 Totals      1111111.1.1111111        -  11.1111 f.                               g.                             1.1.11111..11.A.
 9. Total Error           10. Number of unreasonable minus(-)             11. Is Box 10 greater than Box 8?       12. Avg. error(Box 9 ÷ Box 6 = ):
(add Row e or Box f + errors (compare each package error with the         X• Yes, lot fails
 g):378.49                MAV in the Box 4 column): 8                     0 No, go to Box 12

1 3. Does Box 12 = Zero (0)or Plus(+)?       14. Compute Sample           15. Sample Correction Factor:           16. Compute Sample Error Limit(Box 14 x Box 15 =)
• Yes, lot passes, go to Box 18              Standard Deviation:
• No, go to Box 14
17. Disregarding the signs, is Box 12 larger than Box 16?                 18. Disposition of Inspection Lot                      19. Economic Impact:
     .    Yes, lot fails, go to Box 18 II No, lot passes, go to Box 18              0 Approved            • Rejected            (Box 12 x Box 7 x Box 5 =)


Comments:                                                                 Official's Signature:
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Case: 1:23-cv-02427 Document #: 1 Filed: 04/18/23 Page 61 of 140 PageID #:61
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                  Case: 1:23-cv-02427 Document #: 1 Filed: 04/18/23 Page 62 of 140 PageID #:62                         1 111111 111111111111111111111111 1111111111 1 1 1111
                                                                                                                       * 5 0 2 6 9                    1    5 8 *




 Appearance and Jury Demand *                                                                                                      (12/01/20) CCG 0009

                                         IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                COUNTY            DEPARTMENT/ 1st                  DISTRICT
                                                                                     2023CH02149                           CHANCERY DIVISION
  MICHAEL DAL1.7                                                            Case No.
                                                               Plaintiff
                                                                            Claimed $:
                                    v.
                                                                            Return Date:                         Time:
  WHOLE FOODS MARKET GROUP,INC.
                                                              Defendant     Court Date:                         Room No.:


                                                                                               Address of Court District for Filing

                                               APPEARANCE AND JURY DEMAND *
 ✓     General Appearance         0 0900 - Fee Paid                                                             0 0904 - Fee Waived
                                  0 0908 - Trial Lawyers Appearance - No Fee
i
r Jury Demand *                   El 1900 - Appearance and Jury Demand/Fee Paid                                  L Twelve-person Jury
                                  0 1904- Appearance and Jury Demand/No Fee Paid                                 E Six-person Jury
 The undersigned enters the appearance of: 0 Plaintiff 0 Defendant

 Litigant's Name: Michael Daly

 Signature:
• Initial Counsel of Record              0 Pro Se (Self-represented)           LI 2810 Rule 707 Out-of-State Counsel
                                                                                    (pro hac vice)
 LT_   Additional Appearance              LI Substitute Appearance

                  63294                     C) Pro Se 99500
(f) Atty. No.:                                                                                           IMPORTANT
          Steven Perry Law Offices of Todd M. Friedman, P.C.                 Once this Appearanceform isfiled, photocopies of thisform must be sent to
 Name:
                                                                             all otherparties named in this case (or to their attornies) using either regular
 Atty. for (if applicable):
                                                                             mail,fax; email orpersonal delivery (See Illinois S4reme Court Rides 11
 Michael Daly, Plaintiff                                                     and 13for more information.)

              707 Skokie Blvd., Suite 600
 Address:
                                                                           Pro Se Only:
 City: Northbrook                                                          0 I have read and agree to the terms of Clerk's Office
                                                                              Electronic Notice Policy and choose to opt in to electronic
 State:   a      Zip:
                 G    60062       Phone: 224-218-0875                         notice from the Clerk's office for this case at this email address:
                    steven.perry@toddflaw.com
 Primary Email:                                                          Email:
* Strike demand for trial by jury if not applicable.
I certify that a copy of the within instrument was served on all parties who have appeared and have not heretofore been found by the
Court to be in default for failure to plead.

                                                                                                      Attorney for      Ea; Plaintiff 0 Defendant
                            Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                 cookcountyclerkofcourt.org
                                                                     Page I of 1
               Case: 1:23-cv-02427 Document #: 1 Filed: 04/18/23 Page 63 of 140 PageID #:63                   1 1111111111101111111111111111 1111111111 1 1 1111
                                                                                                              * 5 0 2 6 9 1                     5 8 *




 Chancery Division Civil Cover Sheet
 General Chancery Section                                                                                              (12/01/20) CCCH 0623

                                     IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                        COUNTY DEPARTMENT,CHANCERY DIVISION

  MICHAEL DALY
                                                              Plaintiff               2023CH02149
                                                                           Case No:
 WHOLE FOODS MARKET GROUP,INC.
                                                           Defendant

                                            CHANCERY DIVISION CIVIL COVER SHEET
                                                GENERAL CHANCERY SECTION
 A Chancery Division Civil Cover Sheet - General Chancery Section shall be filed with the initial complaint in all actions filed in the General
 Chancery Section of Chancery Division. The information contained herein is for administrative purposes only Please check the box in
 front of the appropriate category which best characterizes your action being filed.
 Only one (1) case type may be checked with this cover sheet.

 0005 CI Administrative Review                                            0017 CI Mandamus
 0001 L7J Class Action                                                    0018 CI Ne Exeat
 0002 0 Declaratory Judgment                                              0019 Cl Partition
 0004 0 Injunction                                                        0020 0 Quiet Title
                                                                          0021 ED Quo Warranto
 0007 0 General Chancery                                                  0022 CI Redemption Rights
 0010 0 Accounting                                                        0023 Ei Reformation of a Contract
 0011 0 Arbitration                                                       0024 Li Rescission of a Contract
 0012 0 Certiorari                                                        0025 0 Specific Performance
 0013 0 Dissolution of Corporation                                        0026 CI Trust Construction
 0014 0 Dissolution of Partnership                                        0050 0 Internet Take Down Action (Compromising Images)
 0015 0 Equitable Lien
 0016 El Interpleader                                                              El Other (specify)


(i) Arty No.: 63294                   0 Pro Se 99500
                                                                          Pro Se Only:   CI I have read and agree to the terms of the Clerk's
                            Law Offices of Todd M. Friedman,PC
 Arty Name: Steven Perry,                                                                   Clerk's Office Electronic Notice Policy and
                                                                                            choose to opt in to electronic notice from the
 Arty for: Michael Daly, Plaintiff
                                                                                            Clerk's office for this case at this email address:

 Address: 707 Skokie Blvd., Suite 600
                                                                          Email:
 City: Northbrook                             State: IL

 Zip: 60062
 Telephone: 224-218-0875
 PrimaryEmail: steven.perry@toddflaw.com

                                  Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                       cookcountyclerkofcourt.org
                                                                   Page 1 of 1
                      Case:
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                             IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS IRIS Y. MARTINEZ
                                                                          CIRCUIT CLERK
                                                 CHANCERY DIVISION
                                                                          COOK COUNTY, IL
                                                                          2023CH02149
            MICHAEL DALY,individually and on                              Calendar, 14
            behalf of all others similarly situated,                      21718503

                   Plaintiffs,                                   No.:2023CH02149

            v.
4

3
            WHOLE FOODS MARKET GROUP,INC.)

                   Defendant.

                                PLAINTIFF'S MOTION FOR CLASS CERTIFICATION

                   Now comes the Plaintiff, MICHAEL DALY,by and through his attorneys, and brings this

            Motion for Class Certification against Defendant, WHOLE FOODS MARKET GROUP,INC.,

            individually and on behalf of a class and sub-class of all others similarly situated. In support

            thereof, Plaintiff alleges and states as follows:

                    1.     As alleged in Plaintiff's Complaint, on January 6,2023, Plaintiff purchased a bag

            of frozen tilapia filets from a Whole Foods located at 15260 S La Grange Rd., Orland Park,IL.

                   2.      When Plaintiff purchased the products he believed that the Product contained the

            advertised weight offish because the product was labeled as containing 907 grams offish and was

            sold by weight. However, upon investigation by his attorneys Plaintiff learned that the product

            actually contains less than the advertised amount offish. A more thorough explanation ofthe facts

            may be found in Plaintiffs Complaint.

                   3.      As a result ofDefendant's acts and omissions outlined above,Plaintiff has suffered

            concrete and particularized injuries, harm, and damages, which include, but are not limited to, the

            following:

                           a.      Lost money;
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                 b.     Wasting Plaintiffs time; and

                 c.     Stress, aggravation,frustration,inconvenience,loss oftrust, loss ofserenity,

                        and loss of confidence in product labeling.

       4.        Plaintiff brings claims, pursuant to 735 ILCS 5/2-801, et seq., individually and on

behalf of the following class (the "Class"): All persons within the United States who purchased

the Products within five years prior to the filing of the Complaint through the date of class

certification.

        5.       Plaintiffalso brings claims, pursuant to 735 ILCS 5/2-801, et seq., individually and

on behalf ofthe following sub-class(hereinafter the "Sub-Class"): All persons within the State of

Illinois who purchased the Products within five years prior to the filing of the Complaint through

the date of class certification.

       6.        Illinois Rule of Civil Procedure section 5/2-801 states that an action may be

maintained as a class action in any court ofthis state if the court finds that:

                 (1)    The class is so numerous thatjoinder of all members is impracticable.

                 (2)    There are questions of fact or law common to the class, which common

                        questions predominate over any questions affecting only individual

                        members.

                 (3)    The representative parties will fairly and adequately protect the interest of

                        the class.

                 (4)    The class action is an appropriate method for the fair and efficient

                        adjudication ofthe controversy.

735 ILCS 5/2-801.

        7.       The Class and the Sub-Class satisfy all of the requirements of the Illinois Code of



                                                  2
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Civil Procedure for maintaining a class action, specifically:

               a.      Upon information and belief, the Class and the Sub-Class are so numerous

                       thatjoinder ofall members is impracticable. On information and beliefthere

                       are hundreds, if not thousands of individuals in the United States and the

                       State ofIllinois who purchased the products within the applicable statute of

                       limitations period.

               b.      There are questions of fact and/or law which are common to the Class and

                       the Sub-Class, and which predominate over questions affecting any

                       individual Class or Sub-Class members. These common questions of fact

                       and law include, but are not limited to:

                       i.     Whether Defendant disseminated false and misleading information

                              by short-weighting the Products;

                              Whether the Class and Sub-Class members were informed that the

                              products were short-weighted;

                              Whether the Products were short-weighted;

                       iv.    Whether Defendant's conduct was unfair and deceptive;

                       v.     Whether Defendant unjustly enriched itself as a result of the

                              unlawful conduct alleged above;

                       vi.    Whether Defendant breached express warranties to Plaintiff, and the

                              Class and Sub-Class members;

                       vii.   Whether there should be a tolling ofthe statute oflimitations; and
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              viii.   Whether the Class and Sub-Class members are entitled to restitution,

                      actual damages, punitive damages, and attorneys' fees and costs.

        c.    Plaintiff's claims are typical ofthe Class and the Sub-Class, which all arise

              from the same operative set offacts and are based on the same legal theories

        d.    Plaintiff has no interests adverse or antagonistic to the interests ofthe other

              members ofthe Class and the Sub-Class.

        e.    Plaintiff will fairly and adequately protect the interests ofthe Class and the

              Sub-Class and Plaintiff has retained experienced and competent attorneys

              to represent the Class and the Sub-Class.

        f.    This class action is a fair and efficient adjudication of the controversy

              alleged herein. Plaintiff anticipates that no unusual difficulties are likely to

              be encountered in the management ofthis class action.

        g.    This class action will permit large numbers of similarly situated persons to

              prosecute their common claims in a single forum simultaneously and

              without the duplication of effort and expense that numerous individual

              actions would engender. This class action will also permit the adjudication

              of relatively small claims by many Class and Sub-Class members who

              would not otherwise be able to afford to seek legal redress for the wrongs

              complained of herein. Absent a class action, Class and Sub-Class members

              will continue to suffer losses oflegally protected rights, as well as monetary

              damages. If Defendants' conduct is allowed proceed to without remedy,

              Defendants will continue to benefit financially from such conduct.
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                 h.     Defendants have acted on grounds generally applicable to the entire Class

                        and Sub-Class, thereby making it appropriate for the Court to order final

                        monetary,injunctive, and declaratory relief with respect to the Class and the

                        Sub-Class as a whole.

       5.        Plaintiff believes that upon completion of discovery in this matter, Plaintiff will be

able to prove each of the allegations to the satisfaction ofthis Court. Therefore, Plaintiff requests

the Court defer any ruling on this motion until after discovery has closed and Plaintiff has filed an

amended or supplemental motion for class certification.

        WHEREFORE, Plaintiff respectfully requests this Honorable Court enter an order

certifying the proposed class and sub-class, but defer any ruling on this Motion until after discovery

has been completed and Plaintiff has filed an amended or supplemental motion for class

certification.

                                                RESPECTFULLY SUBMITTED,

                                                MICHAEL DALY




                                               Steve G. Perry
                                               Attorney for Plaintiff
                                               Cook County Attorney No.: 63294
                                               Illinois Attorney No.6330283
                                               Law Offices of Todd M.Friedman, P.C.
                                               707 Skokie Blvd., Suite 600
                                               Northbrook,IL 60062
                                               Phone:(224)218-0875
                                               Fax:(866)633-0228
                                               Steven.perry@toddflaw.com




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 3, 2023, a copy of Plaintiff's Motion for

Class Certification was served upon the following party, by depositing the same in the U.S. Mail,

with proper first-class postage prepaid thereon:

              WHOLE FOODS MARKET GROUP 1NC.
              do: CT Corporation system (registered agent)
              208 S. LaSalle St, Suite 814
              Chicago,IL 60604




                                                       Steven G.Perry
                                                       Attorney for Plaintiff




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                            EXHIBIT 3
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                               Exhibit 3
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                                                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                           CHANCERY DIVISION
FILED DATE: 9/15/2022 11:36 AM 2022CH09136




                                             MICHAEL DALY, individually and on
                                             behalf of all others similarly situated,

                                                    Plaintiff,                                    Case No.

                                             v.                                                   CLASS ACTION
                                                                                                  COMPLAINT

                                             SCHMIDT’S DEODORANT COMPANY,
                                             LLC, d/b/a SCHMIDT’S NATURALS                        JURY DEMANDED

                                                    Defendant.


                                                    Now comes the Plaintiff, MICHAEL DALY (“Plaintiff”), individually and on behalf of all

                                             others similarly situated, by and through his attorneys, and for his Class Action Complaint against

                                             the Defendant, SCHMIDT’S DEODORANT COMPANY, LLC, (“Defendant”), Plaintiff alleges

                                             and states as follows:

                                                                            PRELIMINARY STATEMENT

                                                    1.      This is an action for damages, injunctive relief, and any other available legal or

                                             equitable remedies, for violations of Illinois Consumer Fraud and Deceptive Businesses Practices

                                             Act (“ILCFA”), 815 ILCS 505/1 et seq., common law fraud, and unjust enrichment, resulting from

                                             the illegal actions of Defendant, in intentionally labeling its products with false and misleading

                                             claims that they are natural, when Defendant’s products contain synthetic ingredients. Plaintiff

                                             alleges as follows upon personal knowledge as to himself and his own acts and experiences, and,

                                             as to all other matters, upon information and belief, including investigation conducted by his

                                             attorneys.
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                                                 Case: 1:23-cv-00203 Document #: 1-1 Filed: 01/13/23 Page 4 of 19 PageID #:13


                                                                                           PARTIES

                                                    2.        Plaintiff is an individual who was at all relevant times residing in Chicago, Illinois.
FILED DATE: 9/15/2022 11:36 AM 2022CH09136




                                                    3.        Defendant is a South Dakota limited liability company, whose principal place of

                                             business is located in Jupiter, Florida.

                                                    4.        At all times relevant hereto, Defendant was engaged in the marketing,

                                             manufacturing, and sale of deodorant.

                                                                           FACTS COMMON TO ALL COUNTS

                                                    5.        Defendant manufactures, advertises, markets, sells, and distributes deodorant

                                             throughout the United States.

                                                    6.        During the Class Period Defendant sold the following deodorant sticks (the

                                             “Products”) labeled, marketed, and advertised as natural but which contain the artificial ingredient

                                             Jojoba Esters:

                                                                 a. Schmidt’s Bergamot & Lime

                                                                 b. Schmidt’s Lavender & Sage

                                                                 c. Schmidt’s Rose & Vanilla

                                                                 d. Schmidt’s Charcoal & Magnesium

                                                                 e. Schmidt’s Fresh Fir & Spice

                                                                 f. Schmidt’s Sandalwood and Citrus

                                                                 g. Schmidt’s Fresh Cucumber

                                                                 h. Schmidt’s Clean Powder

                                                                 i. Schmidt’s Clean Coconut

                                                    7.        All of the Products listed in Paragraph No 6. above are substantially similar because

                                             all of the products are under arm deodorant sticks, all of the products function the same way to



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                                             achieve the same benefits, the challenged ingredients of each product is shared among all of the

                                             products, and all Products contain the same false “Natural” labeling.
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                                                     8.      On June 6, 2022, Plaintiff purchased a Product from a Jewel Osco located at 1202

                                             State Street, Lemont, IL 60439.

                                                     9.      Jojoba    Esters   is    a    complex           mixture   of   esters    produced    by   the

                                             transesterification/interesterification of Simmondsia Chinensis (Jojoba) Oil, Hydrogenated Jojoba

                                             Oil, or a mixture of the two. 1

                                                     10.     Transesterification is       defined       as     the     chemical      conversion   process

                                             of triglycerides with alcohol into alkyl esters with the help of a catalyst. 2 Transesterification is not

                                             a natural process.

                                                     11.     Hydrogenation is a process by which unsaturated fatty acids in vegetable oil are

                                             converted to saturated fatty acids. 3

                                                     12.     During the hydrogenation process unsaturated double bonds in the fatty acids of

                                             vegetable oils react with hydrogen atoms in the presence of a metal catalyst, typically nickel

                                             catalysts are used in commercial hydrogenation of edible oils. 4

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                                               Information about jojoba esters found at https://www.ewg.org/skindeep/ingredients/703268-
                                             SIMMONDSIA_CHINENSIS_JOJOBA_ESTERS/
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                                                   Monoj    K     Gupta,    Practical  Guide    To      Vegetable     Oil     Processing,
                                             https://www.sciencedirect.com/book/9781630670504/practical-guide-to-vegetable-oil-processing
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                                                    13.   The following diagram depicts the hydrogenation process: 5
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                                                    14.   As shown above in paragraphs 11 through 13, hydrogenation is not a natural

                                             process.

                                                    15.   Therefore, Jojoba Esters are synthetic ingredients.

                                                    16.   The following are examples of the Products’ fraudulent labeling:




                                             5
                                                              Catalytic              Hydrogenation             of             Alkenes,
                                             https://chem.libretexts.org/Bookshelves/Organic_Chemistry/Supplemental_Modules_(Organic_
                                             Chemistry)/Alkenes/Reactivity_of_Alkenes/Catalytic_Hydrogenation
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                                                    17.     Persons, like Plaintiff herein, have an interest in purchasing products that do not

                                             contain false and misleading claims with regards to the contents of the Products.

                                                    18.     Plaintiff, like any reasonable consumer, understands that natural products do not

                                             contain synthetic ingredients.

                                                    19.     By making false and misleading claims about the Products, Defendant impaired

                                             Plaintiff’s ability to choose the type and quality of products he chose to buy.



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                                                     20.     Therefore, Plaintiff has been deprived of his legally protected interest to obtain true

                                             and accurate information about his consumer products as required by law.
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                                                     21.     As a result of Defendant’s fraudulent labeling, Plaintiff and the Class have been

                                             misled into purchasing Products that did not provide them with the benefit of the bargain they paid

                                             money for, namely that the Products would be natural.

                                                     22.     As a result of Defendant’s fraudulent labeling, Plaintiff and the Class paid a price

                                             premium for a premium natural Product, but instead received a non-premium Product with

                                             artificial ingredients.

                                                     23.     Plaintiff and the Class purchased Defendant’s Products because Defendant’s

                                             advertising claimed that the Products were natural.

                                                     24.     Furthermore, due to Defendant’s intentional, deceitful practice of falsely labeling

                                             the Products as natural when they are not, Plaintiff could not have known that the Product was not

                                             natural.

                                                     25.     Plaintiff was unaware that the Product contained artificial ingredients when he

                                             purchased it.

                                                     26.     Worse than the lost money, Plaintiff, the Class, and Sub-Class were deprived of

                                             their protected interest to choose the type and quality of products they use on their skin.

                                                     27.     Defendant, and not Plaintiff, the Class, or Sub-Class, knew or should have known

                                             that labeling, marketing, and selling the Products as natural was false, deceptive, and misleading,

                                             and that Plaintiff, the Class, and Sub-Class members would not be able to tell the Products they

                                             purchased were not natural unless Defendant expressly told them.

                                                     28.     On information and belief, Defendant employs professional chemists to create the

                                             chemical formulas of Defendant’s Products. Therefore, Defendant through its employees knew or



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                                             should have known that Jojoba Esters are not natural, and that by adding Jojoba Esters to its

                                             Products they would not be natural.
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                                                    29.     On information and belief, Defendant did know that Products were not natural but

                                             chose to label the Products as natural because it did not believe its customers were well educated

                                             enough to know the difference.

                                                    30.     As a result of Defendant’s acts and omissions outlined above, Plaintiff has suffered

                                             concrete and particularized injuries and harm, which include, but are not limited to, the following:

                                                            a.      Lost money;

                                                            b.      Wasting Plaintiff’s time; and

                                                            c.      Stress, aggravation, frustration, loss of trust, loss of serenity, and loss of

                                                                    confidence in product labeling.

                                                                                  CLASS ALLEGATIONS

                                                    31.      Plaintiff brings this action on behalf of herself and all others similarly situated, as

                                             a member of the proposed class (the “Class”), defined as follows:

                                                            All persons within the United States who purchased the Products
                                                            within five years prior to the filing of the Complaint through the date
                                                            of class certification.

                                                    32.     Plaintiff also brings this action on behalf of himself and all others similarly situated,

                                             as a member of the proposed sub-class (the “Sub-Class”), defined as follows

                                                            All persons within the State of Illinois who purchased the Products
                                                            within five years prior to the filing of the Complaint through the date
                                                            of class certification.

                                                    33.     The Class and the Sub-Class satisfy all of the requirements of the Illinois Code of

                                             Civil Procedure for maintaining a class action, specifically:




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                                                      a.     Upon information and belief, the Class and the Sub-Class are so numerous

                                                             that joinder of all members is impracticable. On information and belief there
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                                                             are hundreds, if not thousands of individuals in the United States and the

                                                             State of Illinois who purchased the products within the applicable statute of

                                                             limitations period.

                                                      b.     There are questions of fact and/or law which are common to the Class and

                                                             the Sub-Class, and which predominate over questions affecting any

                                                             individual Class or Sub-Class members. These common questions of fact

                                                             and law include, but are not limited to:

                                                             i.      Whether Defendant disseminated false and misleading information

                                                                     by claiming the Products were natural when they were not;

                                                             ii.     Whether the Class and Sub-Class members were informed that the

                                                                     Products were not natural;

                                                             iii.    Whether the Products were natural;

                                                             iv.     Whether Defendant’s conduct was unfair and deceptive;

                                                             v.      Whether Defendant unjustly enriched itself as a result of the

                                                                     unlawful conduct alleged above;

                                                             vii.    Whether there should be a tolling of the statute of limitations; and

                                                             viii.   Whether the Class and Sub-Class members are entitled to restitution,

                                                                     actual damages, punitive damages, and attorneys’ fees and costs.

                                                      c.     Plaintiff’s claims are typical of the Class and the Sub-Class, which all arise

                                                             from the same operative set of facts and are based on the same legal theories




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                                                      d.     Plaintiff has no interests adverse or antagonistic to the interests of the other

                                                             members of the Class and the Sub-Class.
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                                                      e.     Plaintiff will fairly and adequately protect the interests of the Class and the

                                                             Sub-Class and Plaintiff has retained experienced and competent attorneys

                                                             to represent the Class and the Sub-Class.

                                                      f.     This class action is a fair and efficient adjudication of the controversy

                                                             alleged herein. Plaintiff anticipates that no unusual difficulties are likely to

                                                             be encountered in the management of this class action.

                                                      g.     This class action will permit large numbers of similarly situated persons to

                                                             prosecute their common claims in a single forum simultaneously and

                                                             without the duplication of effort and expense that numerous individual

                                                             actions would engender. This class action will also permit the adjudication

                                                             of relatively small claims by many Class and Sub-Class members who

                                                             would not otherwise be able to afford to seek legal redress for the wrongs

                                                             complained of herein. Absent a class action, Class and Sub-Class members

                                                             will continue to suffer losses of legally protected rights, as well as monetary

                                                             damages. If Defendant’s conduct is allowed proceed to without remedy,

                                                             Defendant will continue to benefit financially from such conduct.

                                                      h.     Defendant has acted on grounds generally applicable to the entire Class and

                                                             Sub-Class, thereby making it appropriate for the Court to order final

                                                             monetary, injunctive, and declaratory relief with respect to the Class and the

                                                             Sub-Class as a whole.




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                                                    34.       Defendant, its employees and agents are excluded from the Class and Sub-Class.
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                                             Plaintiff does not know the number of members in the Class and Sub-Class, but believes the

                                             members number in the thousands, if not more. Thus, this matter should be certified as a Class

                                             Action to assist in the expeditious litigation of the matter.

                                                    35.       The size and definition of the Class and Sub-Class can be identified by Defendant’s

                                             own records.

                                                                                  COUNT I
                                                              VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND
                                                            DECEPTIVE BUSINESS PRACTICES ACT, 815 ILCS 505/1, et seq.

                                                      36.      Plaintiff incorporates all of the allegations and statements made in Paragraphs 1

                                             through 35 above as if fully reiterated herein.
                                                    37.    Plaintiff is a “person” as defined in 815 ILCS 505/1(c), as he is a natural person.

                                                    38.       Defendant is a “person” as defined in 815 ILCS 505/1(c), as it is a company and a

                                             business entity and/or association.

                                                    39.       815 ILCS 505/2 states:

                                                              Unfair methods of competition and unfair or deceptive acts or
                                                              practices, including but not limited to the use or employment of any
                                                              deception fraud, false pretense, false promise, misrepresentation or
                                                              the concealment, suppression or omission of any material fact, with
                                                              intent that others rely upon the concealment, suppression or
                                                              omission of such material fact, or the use or employment of any
                                                              practice described in Section 2 of the “Uniform Deceptive Trade
                                                              Practices Act”, approved August 5, 1965, in the conduct of any trade
                                                              or commerce are hereby declared unlawful whether any person has
                                                              in fact been misled, deceived or damaged thereby.

                                                    40.       Through its representation that the Products were natural, Defendant made false

                                             promises, misrepresentations, concealments, suppressions, and omissions of material facts, with

                                             the intent that Plaintiff rely upon said false promises, misrepresentations, concealments,

                                             suppressions, and omissions of material facts.

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                                                    41.     815 ILCS 505/10a states:

                                                            (a) Any person who suffers actual damage as a result of a violation
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                                                            of this Act committed by any other person may bring an action
                                                            against such person. The court, in its discretion may award actual
                                                            economic damages or any other relief which the court deems
                                                            proper...

                                                            (c) [T]he Court may grant injunctive relief where appropriate and
                                                            may award, in addition to the relief provided in this Section,
                                                            reasonable attorney’s fees and costs to the prevailing party.

                                                    42.     In taking the actions and omissions set forth above, and making the false promises,

                                             misrepresentations, concealments, suppressions, and omissions of material facts set forth above,

                                             Defendant violated the Illinois Consumer Fraud and Deceptive Business Practices Act, including,

                                             but not limited to, 815 ILCS 505/2.

                                                    43.     Defendant failed to comply with the requirements of the ILCFA, including, but not

                                             limited to, 815 ILCS 505/2 as to the Class and Sub-Class members with respect to the above-

                                             alleged transactions

                                                    44.     By reason thereof, Plaintiff is entitled to a judgment against Defendant, declaring

                                             that Defendant’s conduct violated 815 ILCS 505/2, enjoining Defendant from engaging in similar

                                             conduct in the future, and awarding actual damages, punitive damages, injunctive relief, costs, and

                                             attorneys’ fees.

                                                                                   PRAYER FOR RELIEF

                                                    Wherefore, Plaintiff prays for a judgment against Defendant as follows:

                                                            a.      An order certifying the Class and the Sub-Class and appointing Plaintiff as

                                                                    Representative of the Class and the Sub-Class;

                                                            b.      An order certifying the undersigned counsel as the Class and Sub-Class

                                                                    Counsel;



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                                                            c.      An order requiring Defendant, at its own cost, to notify all members of the

                                                                    Class and the Sub-Class of the unlawful, unfair, deceptive, and
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                                                                    unconscionable conduct herein;

                                                            d.      Judgment against Defendant in an amount to be determined at trial;

                                                            e.      An order for injunctive relief prohibiting such conduct by Defendant in the

                                                                    future;

                                                            f.      Judgment against Defendant for Plaintiff’s attorneys’ fees, court costs, and

                                                                    other litigation costs; and

                                                            g.      Any other relief deemed just and proper by this Court.



                                                                                    COUNT II
                                                                                COMMON LAW FRAUD

                                                    45.     Plaintiff incorporates all of the allegations and statements made in Paragraphs 1

                                             through 35 above as if fully reiterated herein.

                                                    46.     Through its false statements that the Products were natural, Defendant made false

                                             statements of material fact.

                                                    47.     At the time Defendant made its statements to Plaintiff that the Products were

                                             natural, it knew, or reasonably should have known, that the statements described above were false.

                                                    48.     At the time Defendant made the statements to Plaintiff, Defendant intended to

                                             induce Plaintiff to purchase the Products.

                                                    49.     Plaintiff relied upon the truth of the statements described above and purchased the

                                             Product, only to find that the Product he purchased was not natural.

                                                    50.     As a result of their reasonable reliance upon Defendant’s false statements of

                                             material fact as set forth above, Plaintiff and other members of the Class and Sub-Class have

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                                             suffered concrete and particularized injuries, harm, and damages which include, but are not
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                                             limited to, the loss of money spent on products they did not want to buy, and stress,

                                             aggravation, frustration, inconvenience, emotional distress, mental anguish, and similar

                                             categories of damages.
                                                                                   PRAYER FOR RELIEF

                                                      Wherefore, Plaintiff prays for a judgment against Defendant as follows:
                                                                a. An order certifying the Class and the Sub-Class and appointing Plaintiff as

                                                                    Representative of the Class and the Sub-Class;

                                                                b. An order certifying the undersigned counsel as the Class and Sub-Class

                                                                    Counsel;

                                                                c. An order requiring Defendant, at its own cost, to notify all members of the

                                                                    Class and the Sub-Class of the unlawful, unfair, deceptive, and

                                                                    unconscionable conduct herein;

                                                                d. Judgment against Defendant in an amount to be determined at trial;

                                                                e. An order for injunctive relief prohibiting such conduct by Defendant in the

                                                                    future;

                                                                f. Judgment against Defendant for Plaintiff’s attorneys’ fees, court costs, and

                                                                    other litigation costs; and

                                                                g. Any other relief deemed just and proper by this Court.
                                                                                      COUNT III
                                                                                 UNJUST ENRICHMENT
                                                    51.     Plaintiff incorporates all of the allegations and statements made in Paragraphs 1

                                             through 35 above as if fully reiterated herein.

                                                    52.     Plaintiff conferred monetary benefits to Defendant by purchasing the Products.

                                                    53.     Defendant has been unjustly enriched by retaining the revenues derived from

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                                             Plaintiff’s purchase of the Products based on the false statements that the Products were natural.

                                                    54.     Defendant’s retention of the revenue it received from Plaintiff, and the Class and
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                                             Sub-Class members, is unjust and inequitable because Defendant’s false statements caused injuries

                                             to Plaintiff, and the Class and Sub-Class members, as they would not have purchased the Products,

                                             or would not have paid a premium price, if they knew the Products were not natural.

                                                    55.     Defendant’s unjust retention of the benefits conferred on it by Plaintiff, and the

                                             Class and Sub-Class members, entitles Plaintiff, and the Class and Sub-Class members, to

                                             restitution of the money they paid to Defendant for the Products.

                                                                                 PRAYER FOR RELIEF

                                                    Wherefore, Plaintiff prays for a judgment against Defendant as follows:

                                                                h. An order certifying the Class and the Sub-Class and appointing Plaintiff as

                                                                   Representative of the Class and the Sub-Class;

                                                                i. An order certifying the undersigned counsel as the Class and Sub-Class

                                                                   Counsel;

                                                                j. An order requiring Defendant, at its own cost, to notify all members of the

                                                                   Class and the Sub-Class of the unlawful, unfair, deceptive, and

                                                                   unconscionable conduct herein;

                                                                k. Judgment against Defendant in an amount to be determined at trial;

                                                                l. An order for injunctive relief prohibiting such conduct by Defendant in the

                                                                   future;

                                                                m. Judgment against Defendant for Plaintiff’s attorneys’ fees, court costs, and

                                                                   other litigation costs; and

                                                                n. Any other relief deemed just and proper by this Court.



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                                                                                      JURY DEMAND
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                                                    Plaintiff demands a trial by jury on all issues in this action so triable, except for any issues

                                             relating to the amount of attorneys’ fees and costs to be awarded should Plaintiff prevail on any of

                                             her claims in this action.

                                                                                            RESPECFULLY SUBMITTED,

                                                                                            MICHAEL DALY




                                                                                            _________________________
                                                                                            Steve G. Perry
                                                                                            Attorney for Plaintiff
                                                                                            Cook County Attorney No.: 63294
                                                                                            Illinois Attorney No. 6330283
                                                                                            Law Offices of Todd M. Friedman, P.C.
                                                                                            111 W. Jackson Blvd., Suite 1700
                                                                                            Chicago, Illinois 60604
                                                                                            Phone: (224) 218-0875
                                                                                            Fax: (866) 633-0228
                                                                                            Steven.perry@toddflaw.com




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                                                                                                                                       IRIS Y. MARTINEZ
                                                                                                                                       CIRCUIT CLERK
                                                                                                                                       COOK COUNTY, IL
                                                                                                                                       2022CH00114
                                                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                            Calendar, 3
                                                                            CHANCERY DIVISION
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                                            MICHAEL DALY, individually and on
                                            behalf of all others similarly situated,

                                                     Plaintiff,                                   Case No. 2022CH00114

                                            v.                                                    CLASS ACTION
                                                                                                  COMPLAINT

                                            PURITY COSMETICS INC. d/b/a 100%
                                            PURE                                                  JURY DEMANDED

                                                     Defendant.


                                                     Now comes the Plaintiff, MICHAEL DALY (“Plaintiff”), individually and on behalf of all

                                            others similarly situated, by and through his attorneys, and for his Class Action Complaint against

                                            the Defendant, PURITY COSMETICS, INC., (“Defendant”), Plaintiff alleges and states as

                                            follows:

                                                                             PRELIMINARY STATEMENT

                                                     1.      This is an action for damages, injunctive relief, and any other available legal or

                                            equitable remedies, for violations of Illinois Consumer Fraud and Deceptive Businesses Practices

                                            Act (“ILCFA”), 815 ILCS 505/1 et seq., common law fraud, and unjust enrichment, resulting from

                                            the illegal actions of Defendant, in intentionally labeling its cosmetics as natural when they are

                                            not. Plaintiff alleges as follows upon personal knowledge as to himself and his own acts and

                                            experiences, and, as to all other matters, upon information and belief, including investigation

                                            conducted by his attorneys.
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                                                                                        PARTIES

                                                   2.      Plaintiff is an individual who was at all relevant times residing in Lemont, Illinois.
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                                                   3.      Defendant is a California corporation, whose principal place of business is located

                                            in San Jose, California.

                                                   4.      At all times relevant hereto, Defendant was engaged in the marketing,

                                            manufacturing, and sale of cosmetics.

                                                                        FACTS COMMON TO ALL COUNTS

                                                   5.      Defendant manufactures, advertises, markets, sells, and distributes cosmetics

                                            throughout the United States under the brand name 100% Pure.

                                                   6.      During the Class Period Defendant sold the following cosmetics (the “Products”)

                                            labeled, marketed, and advertised as natural when they contained synthetic Vitamin C:

                                                           a. Vitamin C Serum: Magnesium Ascorbyl Phosphate

                                                           b. Vitamin C Boost: sodium ascorbate, ascorbic acid, calcium ascorbate

                                                           c. Vitamin C Mask: sodium ascorbate, calcium ascorbate

                                                           d. Coffee Bean Caffeine Eye Cream: sodium ascorbate

                                                           e. Brightening Serum: sodium ascorbate

                                                           f. Multi-Vitamin + Antioxidants PM facial Oil: tetrahexyldecyl ascorbate

                                                           g. Multi-Vitamin + Antioxidants PM eye treatment: tetrahexyldecyl ascorbate

                                                   7.      Each of the forgoing Products listed in Paragraph No. 6 above is substantially

                                            similar because each Product claims to be natural including natural Vitamin C, yet each Product

                                            contains some form of synthetic Vitamin C. Therefore, each Product damages consumers in an

                                            identical way by sharing the same fraudulent mislabeling for the same violation of the law.




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                                                   8.      On August 29, 2021, Plaintiff purchased a Vitamin C Serum labeled, marketed, and

                                            sold with misleading statements that the Product was natural, from Defendant’s Woodfield Mall
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                                            location.

                                                   9.      When purchasing the Vitamin C Serum Product Plaintiff made his purchasing
                                            decision because of the labeling on the Product that read “natural” and the image of a citrus fruit.
                                                   10.     Each of the Products contains labeling on the face of the packaging stating the

                                            Products are natural.

                                                   11.     Congress defined the term “synthetic” as “a substances that is formulated or
                                            manufactured by a chemical process or by a process that chemically changes a substance extracted
                                            from naturally occurring [sources]…” 7 U.S.C. § 6502 (21).
                                                   12.     In 2016, the United States Department of Agriculture released a guidance decision
                                            tree for classification of materials as synthetic or non-synthetic. Attached hereto as Exhibit A.
                                                   13.     The Decision Tree appears as follows:




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                                                       14.      Ascobic acid (Vitamin C) can exist in two enantiomers, both a synthetic D-ascorbic
                                            acid and a natural L ascorbic acid.
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                                                       15.      The natural form of vitamin c, L-ascorbic acid, is typically created by an industrial
                                            fermentation process. 1
                                                       16.      The images below depict the chemical structure of L-ascorbic acid and D-ascorbic
                                            acid:




                                                       17.      The Products’ vitamin c ingredients listed in Paragraph No. 6 above are synthetic.
                                                       18.      The following images depict the chemical structures of the Products’ synthetic
                                            vitamin c ingredients:
                                                       Magnesium Ascorbyl Phosphate




                                                       Sodium Ascorbate




                                            1
                                                Chemical information found at: https://ods.od.nih.gov/factsheets/VitaminC-HealthProfessional/

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                                                      Calcium Ascorbate
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                                                      Ascorbyl Palmitate




                                                      Tetrahexyldecyl ascorbate




                                                      19.    As demonstrated in Paragraphs No. 14 through 18 above, the process of creating
                                            the Products’ vitamin c ingredients chemically changes the natural L-ascorbic acid to be
                                            chemically and structurally different than how it naturally occurs.
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                                                      20.      Defendant offers its own definition of the term natural on its website: 2
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                                                      21.      By Defendant’s own definition the Vitamin C ingredients listed in Paragraph No. 6

                                            above are not natural.

                                                      22.      The following photos contain examples of the Products’ labeling:




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                                                Image taken from https://www.100percentpure.com/pages/about-us

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                                                   23.     Plaintiff, like any reasonable consumer, expects that his Vitamin C Products will

                                            not contain synthetic Vitamin C if the Products are labeled as natural.

                                                   24.     Plaintiff is interested in purchasing the Products again in the future, and as a result

                                            he will be harmed if Defendant is not forced to correct the fraudulent labeling or remove the

                                            synthetic vitamin c.

                                                   25.     Persons, like Plaintiff herein, have an interest in purchasing products that do not

                                            contain false and misleading claims with regards to the natural content of the Products.

                                                   26.     By making false and misleading claims about the natural content of its Products,

                                            Defendant impaired Plaintiff’s ability to choose the type and quality of products he chose to buy.

                                                   27.     Therefore, Plaintiff has been deprived of his legally protected interest to obtain true

                                            and accurate information about his consumer products as required by law.

                                                   28.     As a result of Defendant’s fraudulent labeling, Plaintiff and the Class have been

                                            misled into purchasing Products that did not provide them with the benefit of the bargain they paid

                                            money for, namely that the Products would be natural.


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                                                   29.     Plaintiff and the Class purchased Defendant’s Products because Defendant’s

                                            advertising claimed that the Products were natural.
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                                                   30.     Plaintiff would not have been able to understand that the Products he purchased

                                            were not natural unless Defendant expressly told him.

                                                   31.     Furthermore, due to Defendant’s intentional, deceitful practice of falsely labeling

                                            the Products as natural when they are not, Plaintiff could not have known that the Products are not

                                            natural.

                                                   32.     Plaintiff was unaware that the Products were not natural when he purchased them.

                                                   33.     Plaintiff and the Class were deceived into paying money for Products that did not

                                            provide them with the benefit of the bargain they paid Defendant money for, namely that they

                                            would receive natural Products.

                                                   34.     Worse than the lost money, Plaintiff, the Class, and Sub-Class were deprived of

                                            their protected interest to choose the type and quality of products they use on their bodies.

                                                   35.     Defendant, and not Plaintiff, the Class, or Sub-Class, knew or should have known

                                            that labeling, marketing, and selling the Products as natural was false, deceptive, and misleading,

                                            and that Plaintiff, the Class, and Sub-Class members would not be able to tell the Products were

                                            not natural unless Defendant expressly told them.

                                                   36.     As a result of Defendant’s acts and omissions outlined above, Plaintiff has suffered

                                            concrete and particularized injuries and harm, which include, but are not limited to, the following:

                                                           a.      Lost money;

                                                           b.      Wasting Plaintiff’s time; and

                                                           c.      Stress, aggravation, frustration, loss of trust, loss of serenity, and loss of

                                                                   confidence in product labeling.



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                                                                                CLASS ALLEGATIONS

                                                   37.      Plaintiff brings this action on behalf of himself and all others similarly situated, as
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                                            a member of the proposed class (the “Class”), defined as follows:

                                                           All persons within the United States who purchased the Products
                                                           within five years prior to the filing of the Complaint through the date
                                                           of class certification.

                                                   38.     Plaintiff also brings this action on behalf of himself and all others similarly situated,

                                            as a member of the proposed sub-class (the “Sub-Class”), defined as follows

                                                           All persons within the State of Illinois who purchased the Products
                                                           within five years prior to the filing of the Complaint through the date
                                                           of class certification.

                                                   39.     The Class and the Sub-Class satisfy all of the requirements of the Illinois Code of

                                            Civil Procedure for maintaining a class action, specifically:

                                                           a.      Upon information and belief, the Class and the Sub-Class are so numerous

                                                                   that joinder of all members is impracticable. On information and belief there

                                                                   are hundreds, if not thousands of individuals in the United States and the

                                                                   State of Illinois who purchased the products within the applicable statute of

                                                                   limitations period.

                                                           b.      There are questions of fact and/or law which are common to the Class and

                                                                   the Sub-Class, and which predominate over questions affecting any

                                                                   individual Class or Sub-Class members. These common questions of fact

                                                                   and law include, but are not limited to:

                                                                   i.      Whether Defendant disseminated false and misleading information

                                                                           by claiming the Products were natural when they were not;




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                                                            ii.     Whether the Class and Sub-Class members were informed that the

                                                                    Products were not natural;
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                                                            iii.    Whether the Products were natural;

                                                            iv.     Whether Defendant’s conduct was unfair and deceptive;

                                                            v.      Whether Defendant unjustly enriched itself as a result of the

                                                                    unlawful conduct alleged above;

                                                            vii.    Whether there should be a tolling of the statute of limitations; and

                                                            viii.   Whether the Class and Sub-Class members are entitled to restitution,

                                                                    actual damages, punitive damages, and attorneys’ fees and costs.

                                                      c.    Plaintiff’s claims are typical of the Class and the Sub-Class, which all arise

                                                            from the same operative set of facts and are based on the same legal theories

                                                      d.    Plaintiff has no interests adverse or antagonistic to the interests of the other

                                                            members of the Class and the Sub-Class.

                                                      e.    Plaintiff will fairly and adequately protect the interests of the Class and the

                                                            Sub-Class and Plaintiff has retained experienced and competent attorneys

                                                            to represent the Class and the Sub-Class.

                                                      f.    This class action is a fair and efficient adjudication of the controversy

                                                            alleged herein. Plaintiff anticipates that no unusual difficulties are likely to

                                                            be encountered in the management of this class action.

                                                      g.    This class action will permit large numbers of similarly situated persons to

                                                            prosecute their common claims in a single forum simultaneously and

                                                            without the duplication of effort and expense that numerous individual

                                                            actions would engender. This class action will also permit the adjudication



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                                                                   of relatively small claims by many Class and Sub-Class members who

                                                                   would not otherwise be able to afford to seek legal redress for the wrongs
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                                                                   complained of herein. Absent a class action, Class and Sub-Class members

                                                                   will continue to suffer losses of legally protected rights, as well as monetary

                                                                   damages. If Defendants’ conduct is allowed proceed to without remedy,

                                                                   Defendants will continue to benefit financially from such conduct.

                                                           h.      Defendants have acted on grounds generally applicable to the entire Class

                                                                   and Sub-Class, thereby making it appropriate for the Court to order final

                                                                   monetary, injunctive, and declaratory relief with respect to the Class and the

                                                                   Sub-Class as a whole.

                                                   40.     Defendant, its employees and agents are excluded from the Class and Sub-Class.

                                            Plaintiff does not know the number of members in the Class and Sub-Class, but believes the

                                            members number in the thousands, if not more. Thus, this matter should be certified as a Class

                                            Action to assist in the expeditious litigation of the matter.

                                                   41.     The size and definition of the Class and Sub-Class can be identified by Defendant’s

                                            own records.

                                                                              COUNT I
                                                          VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND
                                                         DECEPTIVE BUSINESS PRACTICES ACT, 815 ILCS 505/1, et seq.

                                                   42.     Plaintiff incorporates all of the allegations and statements made in Paragraphs 1

                                            through 41 above as if fully reiterated herein.

                                                   43.     Plaintiff is a “person” as defined in 815 ILCS 505/1(c), as he is a natural person.

                                                   44.     Defendant is a “person” as defined in 815 ILCS 505/1(c), as it is a company and a

                                            business entity and/or association.



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                                                   45.     815 ILCS 505/2 states:

                                                           Unfair methods of competition and unfair or deceptive acts or
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                                                           practices, including but not limited to the use or employment of any
                                                           deception fraud, false pretense, false promise, misrepresentation or
                                                           the concealment, suppression or omission of any material fact, with
                                                           intent that others rely upon the concealment, suppression or
                                                           omission of such material fact, or the use or employment of any
                                                           practice described in Section 2 of the “Uniform Deceptive Trade
                                                           Practices Act”, approved August 5, 1965, in the conduct of any trade
                                                           or commerce are hereby declared unlawful whether any person has
                                                           in fact been misled, deceived or damaged thereby.

                                                   46.     Through its representation that the Products were natural, Defendant made false

                                            promises, misrepresentations, concealments, suppressions, and omissions of material facts, with

                                            the intent that Plaintiff rely upon said false promises, misrepresentations, concealments,

                                            suppressions, and omissions of material facts.

                                                   47.     815 ILCS 505/10a states:

                                                           (a) Any person who suffers actual damage as a result of a violation
                                                           of this Act committed by any other person may bring an action
                                                           against such person. The court, in its discretion may award actual
                                                           economic damages or any other relief which the court deems
                                                           proper...

                                                           (c) [T]he Court may grant injunctive relief where appropriate and
                                                           may award, in addition to the relief provided in this Section,
                                                           reasonable attorney’s fees and costs to the prevailing party.

                                                   48.     In taking the actions and omissions set forth above, and making the false promises,

                                            misrepresentations, concealments, suppressions, and omissions of material facts set forth above,

                                            Defendant violated the Illinois Consumer Fraud and Deceptive Business Practices Act, including,

                                            but not limited to, 815 ILCS 505/2.

                                                   49.     Defendant failed to comply with the requirements of the ILCFA, including, but not

                                            limited to, 815 ILCS 505/2 as to the Class and Sub-Class members with respect to the above-

                                            alleged transactions

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                                                   50.     By reason thereof, Plaintiff is entitled to a judgment against Defendant, declaring

                                            that Defendant’s conduct violated 815 ILCS 505/2, enjoining Defendant from engaging in similar
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                                            conduct in the future, and awarding actual damages, punitive damages, injunctive relief, costs, and

                                            attorneys’ fees.

                                                                                 PRAYER FOR RELIEF

                                                   Wherefore, Plaintiff prays for a judgment against Defendant as follows:

                                                           a.      An order certifying the Class and the Sub-Class and appointing Plaintiff as

                                                                   Representative of the Class and the Sub-Class;

                                                           b.      An order certifying the undersigned counsel as the Class and Sub-Class

                                                                   Counsel;

                                                           c.      An order requiring Defendant, at its own cost, to notify all members of the

                                                                   Class and the Sub-Class of the unlawful, unfair, deceptive, and

                                                                   unconscionable conduct herein;

                                                           d.      Judgment against Defendant in an amount to be determined at trial;

                                                           e.      An order for injunctive relief prohibiting such conduct by Defendant in the

                                                                   future;

                                                           f.      Judgment against Defendant for Plaintiff’s attorneys’ fees, court costs, and

                                                                   other litigation costs; and

                                                           g.      Any other relief deemed just and proper by this Court.

                                                                                   COUNT II
                                                                               COMMON LAW FRAUD

                                                   51.     Plaintiff incorporates all of the allegations and statements made in Paragraphs 1

                                            through 41 above as if fully reiterated herein.

                                                   52.     Through its false statements that the Products were natural, Defendant made false

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                                            statements of material fact.

                                                   53.     At the time Defendant made its statements to Plaintiff that the Products were
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                                            natural, it knew, or reasonably should have known, that the statements described above were false.

                                                   54.     At the time Defendant made the statements to Plaintiff, Defendant intended to

                                            induce Plaintiff to purchase the Products.

                                                   55.     Plaintiff relied upon the truth of the statements described above and purchased the

                                            Products, only to find that the Product he purchased is not natural.

                                                   56.     As a result of their reasonable reliance upon Defendant’s false statements of

                                            material fact as set forth above, Plaintiff and other members of the Class and Sub-Class have

                                            suffered concrete and particularized injuries, harm, and damages which include, but are not limited

                                            to, the loss of money spent on products they did not want to buy, and stress, aggravation,

                                            frustration, inconvenience, emotional distress, mental anguish, and similar categories of damages.

                                                                                PRAYER FOR RELIEF

                                                   Wherefore, Plaintiff prays for a judgment against Defendant as follows:

                                                           h.      An order certifying the Class and the Sub-Class and appointing Plaintiff as

                                                                   Representative of the Class and the Sub-Class;

                                                           i.      An order certifying the undersigned counsel as the Class and Sub-Class

                                                                   Counsel;

                                                           j.      An order requiring Defendant, at its own cost, to notify all members of the

                                                                   Class and the Sub-Class of the unlawful, unfair, deceptive, and

                                                                   unconscionable conduct herein;

                                                           k.      Judgment against Defendant in an amount to be determined at trial;




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                                                           l.      An order for injunctive relief prohibiting such conduct by Defendant in the

                                                                   future;
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                                                           m.      Judgment against Defendant for Plaintiff’s attorneys’ fees, court costs, and

                                                                   other litigation costs; and

                                                           n.      Any other relief deemed just and proper by this Court.

                                                                                     COUNT III
                                                                                UNJUST ENRICHMENT

                                                   57.     Plaintiff incorporates all of the allegations and statements made in Paragraphs 1

                                            through 41 above as if fully reiterated herein.

                                                   58.     Plaintiff conferred monetary benefits to Defendant by purchasing the Products.

                                                   59.     Defendant has been unjustly enriched by retaining the revenues derived from

                                            Plaintiff’s purchase of the Products based on the false statements that the Products were natural.

                                                   60.     Defendant’s retention of the revenue it received from Plaintiff, and the Class and

                                            Sub-Class members, is unjust and inequitable because Defendant’s false statements caused injuries

                                            to Plaintiff, and the Class and Sub-Class members, as they would not have purchased the Products,

                                            or would not have paid a premium price, if they knew the Products were not natural .

                                                   61.     Defendant’s unjust retention of the benefits conferred on it by Plaintiff, and the

                                            Class and Sub-Class members, entitles Plaintiff, and the Class and Sub-Class members, to

                                            restitution of the money they paid to Defendant for the Products.

                                                                                 PRAYER FOR RELIEF

                                                   Wherefore, Plaintiff prays for a judgment against Defendant as follows:

                                                           o.      An order certifying the Class and the Sub-Class and appointing Plaintiff as

                                                                   Representative of the Class and the Sub-Class;




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                                                           p.      An order certifying the undersigned counsel as the Class and Sub-Class

                                                                   Counsel;
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                                                           q.      An order requiring Defendant, at its own cost, to notify all members of the

                                                                   Class and the Sub-Class of the unlawful, unfair, deceptive, and

                                                                   unconscionable conduct herein;

                                                           r.      Judgment against Defendant in an amount to be determined at trial;

                                                           s.      An order for injunctive relief prohibiting such conduct by Defendant in the

                                                                   future;

                                                           t.      Judgment against Defendant for Plaintiff’s attorneys’ fees, court costs, and

                                                                   other litigation costs; and

                                                           u.      Any other relief deemed just and proper by this Court.

                                                                                     JURY DEMAND

                                                   Plaintiff demands a trial by jury on all issues in this action so triable, except for any issues

                                            relating to the amount of attorneys’ fees and costs to be awarded should Plaintiff prevail on any of

                                            her claims in this action.

                                                                                           RESPECFULLY SUBMITTED,

                                                                                           MICHAEL DALY




                                                                                           _________________________
                                                                                           Steve G. Perry
                                                                                           Attorney for Plaintiff
                                                                                           Cook County Attorney No.: 63294
                                                                                           Illinois Attorney No. 6330283
                                                                                           Law Offices of Todd M. Friedman, P.C.
                                                                                           111 W. Jackson Blvd., Suite 1700
                                                                                           Chicago, Illinois 60604
                                                                                           Phone: (224) 218-0875

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                                                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                            CHANCERY DIVISION
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                                            MICHAEL DALY, individually and on
                                            behalf of all others similarly situated,

                                                     Plaintiff,                                   Case No. 2021CH04869

                                            v.                                                    CLASS ACTION
                                                                                                  COMPLAINT

                                            SNACK IT FORWARD, LLC d/b/a
                                            PEATOS                                                JURY DEMANDED

                                                     Defendant.


                                                     Now comes the Plaintiff, MICHAEL DALY (“Plaintiff”), individually and on behalf of all

                                            others similarly situated, by and through his attorneys, and for his Class Action Complaint against

                                            the Defendant, SNACK IT FORWARD, LLC., (“Defendant”), Plaintiff alleges and states as

                                            follows:

                                                                             PRELIMINARY STATEMENT

                                                     1.      This is an action for damages, injunctive relief, and any other available legal or

                                            equitable remedies, for violations of Illinois Consumer Fraud and Deceptive Businesses Practices

                                            Act (“ILCFA”), 815 ILCS 505/1 et seq., common law fraud, and unjust enrichment, resulting from

                                            the illegal actions of Defendant, in intentionally labeling its products as containing more protein

                                            than the products actually contain. Plaintiff alleges as follows upon personal knowledge as to

                                            himself and his own acts and experiences, and, as to all other matters, upon information and belief,

                                            including investigation conducted by his attorneys.
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                                                                                         PARTIES

                                                   2.      Plaintiff is an individual who was at all relevant times residing in Lemont, Illinois.
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                                                   3.      Defendant is a Delaware corporation, whose principal place of business is located

                                            in Los Angeles, California.

                                                   4.      At all times relevant hereto, Defendant was engaged in the marketing,

                                            manufacturing, and sale of snack food.

                                                                          FACTS COMMON TO ALL COUNTS

                                                   5.      Defendant manufactures, advertises, markets, sells, and distributes snack food

                                            throughout the United States under the brand name Peatos.

                                                   6.      During the Class Period Defendant sold the following snack foods (the “Products”)

                                            labeled, marketed, and advertised as containing more protein than they actually contained:

                                                                a) PeaTos Crunchy Curls: Classic Cheese

                                                                b) PeaTos Crunchy Curls: Zesty Ranch

                                                                c) PeaTos Crunchy Curls: Fiery Hot

                                                                d) PeaTos Crunchy Rings: Fiery Onion

                                                                e) PeaTos Crunchy Rings: Classic Onion

                                                   7.      There are two classes of nutrients defined for purposes of compliance with 21

                                            C.F.R. § 101.9. Class I nutrients are defined as added nutrients in fortified or fabricated foods, and

                                            Class II nutrients are defined as naturally occurring nutrients. 21 C.F.R. § 101.9(g)(3)(i)(ii).

                                                   8.      When a vitamin, mineral, protein, or dietary fiber meets the definition of a Class I

                                            nutrient, the nutrient content of the composite must be formulated to be at least equal to the value

                                            of the nutrient declared on the label. 21 C.F.R. § 101.9(g)(4)(i).




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                                                       9.       Compliance with 21 C.F.R. § 101.9 is determined by a nutrient analysis consisting

                                            of a composite of 12 subsamples (consumer units), taken 1 from each of 12 different randomly
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                                            chosen shipping cases, to be representative of a lot.

                                                       10.      On June 10, 2021, Plaintiff purchased a Peatos Party Mix Variety Pack labeled,

                                            marketed, and sold with misleading statements that the Products contained four grams of protein

                                            per serving, from Defendant’s website while at his home in Lemont, Illinois.

                                                       11.      Defendant advertises the Products prominently displaying the protein content to

                                            entice consumers to purchase the Products.

                                                       12.      For example, Defendant’s website contains the following advertisement:



                                                             “Junk Food” without the Junk!
                                                                                                                                               1
                                                             Holy Chip! More Protein. More Fiber. More Fun!
                                                       13.      The following photos contain examples of the Products’ labeling:




                                            1
                                                https://peatos.com/

                                                                                                3
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                                                   14.     Plaintiff viewed Defendant’s advertisements and labels stating the Products

                                            contained four grams of protein per serving when deciding to purchase the Products. Plaintiff made

                                            his purchase based on his review of those advertisements and labels.

                                                   15.     Plaintiff, like any reasonable consumer, understands the importance of high nutrient

                                            content in his food, including high protein content.



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                                                    16.    Accurate nutrient content labeling is material to reasonable consumers, including

                                            Plaintiff.
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                                                    17.    After consuming some of the Products, Plaintiff noticed that the Classic Onion and

                                            Fiery Onion Products labels contained inconsistent Protein Content between the front and back

                                            labels and the nutrition facts, which did not match.

                                                    18.    The following photos depict the inconsistent labeling on the Classic Onion and

                                            Fiery Onion Products:




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                                                   19.     Upon investigation performed by Plaintiff’s counsel, a nutrient analysis consisting

                                            of a composite of 12 subsamples (consumer units), taken 1 from each of 12 different randomly
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                                            chosen shipping cases was performed on each of the Products.

                                                   20.     The bar graphs in Paragraph No. 21 below display each of the 12 different samples

                                            of each Product on the x-axis and the total amount of grams of protein per serving on the y-axis.

                                                   21.     As a result of Plaintiff’s counsel’s investigation the following data was produced:


                                                                                 Classic Onion
                                                      4

                                                    3.5

                                                      3

                                                    2.5

                                                      2

                                                    1.5

                                                      1

                                                    0.5

                                                      0
                                                           1     2    3     4     5    6     7     8    9     10   11    12



                                                                                  Fiery Onion
                                                      4

                                                    3.5

                                                      3

                                                    2.5

                                                      2

                                                    1.5

                                                      1

                                                    0.5

                                                      0
                                                           1     2    3     4     5    6     7     8    9     10   11    12




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                                                                                   Zesty Ranch
                                                  4
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                                                 3.5

                                                  3

                                                 2.5

                                                  2

                                                 1.5

                                                  1

                                                 0.5

                                                  0
                                                       1   2       3       4       5   6   7       8       9       10       11   12



                                                                                       Classic Cheese
                                                  4

                                                 3.5

                                                  3

                                                 2.5

                                                  2

                                                 1.5

                                                  1

                                                 0.5

                                                  0
                                                       1       2       3       4       5       6       7       8        9        10   11   12




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                                                                                         Fiery Hot
                                                      4
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                                                     3.5

                                                      3

                                                     2.5

                                                      2

                                                     1.5

                                                      1

                                                     0.5

                                                      0
                                                              1        2    3   4    5      6    7     8     9    10    11    12




                                                   22.        The following table represents the final averages and associated error for the grams

                                            of protein in each Product:


                                                           Product name                    Average Protein Amount (g) per serving

                                                           Classic Onion                   0.9±0.2

                                                           Fiery Onion                     1.1±0.3

                                                           Zesty Ranch                     1.6±0.4

                                                           Classic Cheese                  2.6±0.5

                                                           Fiery Hot                       1.4±0.3

                                                   23.        Each of the above bar graphs contain the raw data points from each sample of each

                                            Product tested. The table contains the averages calculated from the raw data points from each

                                            sample including a correction factor that accounts for the error of the method used. Therefore, the

                                            average protein amount displayed in Paragraph No. 20 above consist of a range of possible values.

                                                   24.        The Products are fabricated products that have been fortified using added pea

                                            protein, therefore the protein content of the Products is classified as a Class I Nutrient.


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                                                    25.    As a result, the protein content of the Products must be at least equal to the

                                            Products’ advertised protein content. As shown in Paragraph No. 22 above, the Products’ protein
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                                            content is below the advertised protein content.

                                                    26.    Persons, like Plaintiff herein, have an interest in purchasing products that do not

                                            contain false and misleading claims with regards to the nutrient content of the Products.

                                                    27.    By making false and misleading claims about the nutrient content of its Products,

                                            Defendant impaired Plaintiff’s ability to choose the type and quality of products he chose to buy.

                                                    28.    Therefore, Plaintiff has been deprived of his legally protected interest to obtain true

                                            and accurate information about his consumer products as required by law.

                                                    29.    As a result of Defendant’s fraudulent labeling, Plaintiff and the Class have been

                                            misled into purchasing Products that did not provide them with the benefit of the bargain they paid

                                            money for, namely that the Products contained four grams of protein per serving.

                                                    30.    As a result of Defendant’s fraudulent labeling, Plaintiff and the Class paid a price

                                            premium for premium nutrient content, but instead received non-premium nutrient content.

                                                    31.    Specifically, Plaintiff paid $24.99 for his Peatos variety pack, meanwhile similar

                                            non-premium snack food variety packs sell approximately for half that price, or $11.59. 2

                                                    32.    Plaintiff and the Class purchased Defendant’s Products because Defendant’s

                                            advertising claimed that the Products contained high protein nutrient content.

                                                    33.    Plaintiff would not have been able to understand that the Products he purchased did

                                            not contain the advertised nutrient content without performing nutrient analysis.



                                            2
                                              Referenced price found at: https://www.boxed.com/product/2505/frito-lay-classic-mix-28-ct-variety-
                                            pack?pf=3&gid=2505&utm_source=google&utm_medium=cpc&utm_campaign=Google%7CShopping%
                                            7CUS%7CNB%7CSnacks%7CDT&utm_purpose=acquisition&utm_experiment=none&utm_ad_id=5064
                                            84243988&utm_term=&cmp=12549215701&dev=c&gclid=Cj0KCQjws4aKBhDPARIsAIWH0JURlik4
                                            ddIQSocYe2-mvKoW1fKB7WqX08hWbB3UNfsO4-hYy4NcIqYaAmazEALw_wcB
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                                                   34.     Furthermore, due to Defendant’s intentional, deceitful practice of falsely labeling

                                            the Products as containing four grams of protein when they do not, Plaintiff could not have known
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                                            that the Products do not contain four grams of protein per serving.

                                                   35.     Plaintiff was unaware that the Products did not contain four grams of protein per

                                            serving when he purchased them.

                                                   36.     Plaintiff and the Class were deceived into paying money for Products that did not

                                            provide them with the benefit of the bargain they paid Defendant money for, namely that they

                                            would receive four grams of protein per serving of Product.

                                                   37.     Worse than the lost money, Plaintiff, the Class, and Sub-Class were deprived of

                                            their protected interest to choose the type and quality of products they ingest.

                                                   38.     Defendant, and not Plaintiff, the Class, or Sub-Class, knew or should have known

                                            that labeling, marketing, and selling the Products as containing four grams of protein per serving

                                            was false, deceptive, and misleading, and that Plaintiff, the Class, and Sub-Class members would

                                            not be able to tell the Products they purchased did not contain four grams of protein per serving

                                            unless Defendant expressly told them.

                                                   39.     As a result of Defendant’s acts and omissions outlined above, Plaintiff has suffered

                                            concrete and particularized injuries and harm, which include, but are not limited to, the following:

                                                           a.      Lost money;

                                                           b.      Wasting Plaintiff’s time; and

                                                           c.      Stress, aggravation, frustration, loss of trust, loss of serenity, and loss of

                                                                   confidence in product labeling.




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                                                                                CLASS ALLEGATIONS

                                                   40.      Plaintiff brings this action on behalf of himself and all others similarly situated, as
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                                            a member of the proposed class (the “Class”), defined as follows:

                                                           All persons within the United States who purchased the Products
                                                           within five years prior to the filing of the Complaint through the date
                                                           of class certification.

                                                   41.     Plaintiff also brings this action on behalf of himself and all others similarly situated,

                                            as a member of the proposed sub-class (the “Sub-Class”), defined as follows

                                                           All persons within the State of Illinois who purchased the Products
                                                           within five years prior to the filing of the Complaint through the date
                                                           of class certification.

                                                   42.     The Class and the Sub-Class satisfy all of the requirements of the Illinois Code of

                                            Civil Procedure for maintaining a class action, specifically:

                                                           a.      Upon information and belief, the Class and the Sub-Class are so numerous

                                                                   that joinder of all members is impracticable. On information and belief there

                                                                   are hundreds, if not thousands of individuals in the United States and the

                                                                   State of Illinois who purchased the products within the applicable statute of

                                                                   limitations period.

                                                           b.      There are questions of fact and/or law which are common to the Class and

                                                                   the Sub-Class, and which predominate over questions affecting any

                                                                   individual Class or Sub-Class members. These common questions of fact

                                                                   and law include, but are not limited to:

                                                                   i.      Whether Defendant disseminated false and misleading information

                                                                           by claiming the Products contained four grams of protein per serving

                                                                           when they did not;



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                                                            ii.     Whether the Class and Sub-Class members were informed that the

                                                                    Products did not contain four grams of protein per serving;
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                                                            iii.    Whether the Products contained four grams of protein per serving;

                                                            iv.     Whether Defendant’s conduct was unfair and deceptive;

                                                            v.      Whether Defendant unjustly enriched itself as a result of the

                                                                    unlawful conduct alleged above;

                                                            vii.    Whether there should be a tolling of the statute of limitations; and

                                                            viii.   Whether the Class and Sub-Class members are entitled to restitution,

                                                                    actual damages, punitive damages, and attorneys’ fees and costs.

                                                      c.    Plaintiff’s claims are typical of the Class and the Sub-Class, which all arise

                                                            from the same operative set of facts and are based on the same legal theories

                                                      d.    Plaintiff has no interests adverse or antagonistic to the interests of the other

                                                            members of the Class and the Sub-Class.

                                                      e.    Plaintiff will fairly and adequately protect the interests of the Class and the

                                                            Sub-Class and Plaintiff has retained experienced and competent attorneys

                                                            to represent the Class and the Sub-Class.

                                                      f.    This class action is a fair and efficient adjudication of the controversy

                                                            alleged herein. Plaintiff anticipates that no unusual difficulties are likely to

                                                            be encountered in the management of this class action.

                                                      g.    This class action will permit large numbers of similarly situated persons to

                                                            prosecute their common claims in a single forum simultaneously and

                                                            without the duplication of effort and expense that numerous individual

                                                            actions would engender. This class action will also permit the adjudication



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                                                                   of relatively small claims by many Class and Sub-Class members who

                                                                   would not otherwise be able to afford to seek legal redress for the wrongs
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                                                                   complained of herein. Absent a class action, Class and Sub-Class members

                                                                   will continue to suffer losses of legally protected rights, as well as monetary

                                                                   damages. If Defendants’ conduct is allowed proceed to without remedy,

                                                                   Defendants will continue to benefit financially from such conduct.

                                                           h.      Defendants have acted on grounds generally applicable to the entire Class

                                                                   and Sub-Class, thereby making it appropriate for the Court to order final

                                                                   monetary, injunctive, and declaratory relief with respect to the Class and the

                                                                   Sub-Class as a whole.

                                                   43.     Defendant, its employees and agents are excluded from the Class and Sub-Class.

                                            Plaintiff does not know the number of members in the Class and Sub-Class, but believes the

                                            members number in the thousands, if not more. Thus, this matter should be certified as a Class

                                            Action to assist in the expeditious litigation of the matter.

                                                   44.     The size and definition of the Class and Sub-Class can be identified by Defendant’s

                                            own records.

                                                                              COUNT I
                                                          VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND
                                                         DECEPTIVE BUSINESS PRACTICES ACT, 815 ILCS 505/1, et seq.

                                                   45.     Plaintiff incorporates all of the allegations and statements made in Paragraphs 1

                                            through 44 above as if fully reiterated herein.

                                                   46.     Plaintiff is a “person” as defined in 815 ILCS 505/1(c), as he is a natural person.

                                                   47.     Defendant is a “person” as defined in 815 ILCS 505/1(c), as it is a company and a

                                            business entity and/or association.



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                                                   48.     815 ILCS 505/2 states:

                                                           Unfair methods of competition and unfair or deceptive acts or
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                                                           practices, including but not limited to the use or employment of any
                                                           deception fraud, false pretense, false promise, misrepresentation or
                                                           the concealment, suppression or omission of any material fact, with
                                                           intent that others rely upon the concealment, suppression or
                                                           omission of such material fact, or the use or employment of any
                                                           practice described in Section 2 of the “Uniform Deceptive Trade
                                                           Practices Act”, approved August 5, 1965, in the conduct of any trade
                                                           or commerce are hereby declared unlawful whether any person has
                                                           in fact been misled, deceived or damaged thereby.

                                                   49.     Through its representation that the Products contained four grams of protein per

                                            serving, Defendant made false promises, misrepresentations, concealments, suppressions, and

                                            omissions of material facts, with the intent that Plaintiff rely upon said false promises,

                                            misrepresentations, concealments, suppressions, and omissions of material facts.

                                                   50.     815 ILCS 505/10a states:

                                                           (a) Any person who suffers actual damage as a result of a violation
                                                           of this Act committed by any other person may bring an action
                                                           against such person. The court, in its discretion may award actual
                                                           economic damages or any other relief which the court deems
                                                           proper...

                                                           (c) [T]he Court may grant injunctive relief where appropriate and
                                                           may award, in addition to the relief provided in this Section,
                                                           reasonable attorney’s fees and costs to the prevailing party.

                                                   51.     In taking the actions and omissions set forth above, and making the false promises,

                                            misrepresentations, concealments, suppressions, and omissions of material facts set forth above,

                                            Defendant violated the Illinois Consumer Fraud and Deceptive Business Practices Act, including,

                                            but not limited to, 815 ILCS 505/2.

                                                   52.     Defendant failed to comply with the requirements of the ILCFA, including, but not

                                            limited to, 815 ILCS 505/2 as to the Class and Sub-Class members with respect to the above-

                                            alleged transactions

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                                                   53.     By reason thereof, Plaintiff is entitled to a judgment against Defendant, declaring

                                            that Defendant’s conduct violated 815 ILCS 505/2, enjoining Defendant from engaging in similar
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                                            conduct in the future, and awarding actual damages, punitive damages, injunctive relief, costs, and

                                            attorneys’ fees.

                                                                                    COUNT II
                                                                                COMMON LAW FRAUD

                                                   54.     Plaintiff incorporates all of the allegations and statements made in Paragraphs 1

                                            through 44 above as if fully reiterated herein.

                                                   55.     Through its false statements that the Products contained four grams of protein per

                                            serving, Defendant made false statements of material fact.

                                                   56.     At the time Defendant made its statements to Plaintiff that the Products contained

                                            four grams of protein per serving, it knew, or reasonably should have known, that the statements

                                            described above were false.

                                                   57.     At the time Defendant made the statements to Plaintiff, Defendant intended to

                                            induce Plaintiff to purchase the Products.

                                                   58.     Plaintiff relied upon the truth of the statements described above and purchased the

                                            Products, only to find that the Product he purchased did not contain four grams of protein per

                                            serving.

                                                   59.     As a result of their reasonable reliance upon Defendant’s false statements of

                                            material fact as set forth above, Plaintiff and other members of the Class and Sub-Class have

                                            suffered concrete and particularized injuries, harm, and damages which include, but are not limited

                                            to, the loss of money spent on products they did not want to buy, and stress, aggravation,

                                            frustration, inconvenience, emotional distress, mental anguish, and similar categories of damages.




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                                                                                     COUNT III
                                                                                UNJUST ENRICHMENT
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                                                   60.     Plaintiff incorporates all of the allegations and statements made in Paragraphs 1

                                            through 44 above as if fully reiterated herein.

                                                   61.     Plaintiff conferred monetary benefits to Defendant by purchasing the Products.

                                                   62.     Defendant has been unjustly enriched by retaining the revenues derived from

                                            Plaintiff’s purchase of the Products based on the false statements that the Products contained four

                                            grams of protein per serving.

                                                   63.     Defendant’s retention of the revenue it received from Plaintiff, and the Class and

                                            Sub-Class members, is unjust and inequitable because Defendant’s false statements caused injuries

                                            to Plaintiff, and the Class and Sub-Class members, as they would not have purchased the Products,

                                            or would not have paid a premium price, if they knew the Products did not contain four grams of

                                            protein per serving.

                                                   64.     Defendant’s unjust retention of the benefits conferred on it by Plaintiff, and the

                                            Class and Sub-Class members, entitles Plaintiff, and the Class and Sub-Class members, to

                                            restitution of the money they paid to Defendant for the Products.

                                                                                 PRAYER FOR RELIEF

                                                   Wherefore, Plaintiff prays for a judgment against Defendant as follows:

                                                           a.      An order certifying the Class and the Sub-Class and appointing Plaintiff as

                                                                   Representative of the Class and the Sub-Class;

                                                           b.      An order certifying the undersigned counsel as the Class and Sub-Class

                                                                   Counsel;




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                                                           c.      An order requiring Defendant, at its own cost, to notify all members of the

                                                                   Class and the Sub-Class of the unlawful, unfair, deceptive, and
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                                                                   unconscionable conduct herein;

                                                           d.      Judgment against Defendant in an amount to be determined at trial;

                                                           e.      An order for injunctive relief prohibiting such conduct by Defendant in the

                                                                   future;

                                                           f.      Judgment against Defendant for Plaintiff’s attorneys’ fees, court costs, and

                                                                   other litigation costs; and

                                                           g.      Any other relief deemed just and proper by this Court.



                                                                                     JURY DEMAND

                                                   Plaintiff demands a trial by jury on all issues in this action so triable, except for any issues

                                            relating to the amount of attorneys’ fees and costs to be awarded should Plaintiff prevail on any of

                                            her claims in this action.

                                                                                           RESPECFULLY SUBMITTED,

                                                                                           MICHAEL DALY




                                                                                           _____________________________
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